Case 17-42571-rfn11 Doc 94 Filed 08/04/17                   Entered 08/04/17 15:33:57     Page 1 of 125



Vickie L. Driver
Texas Bar No. 24026886
Christina W. Stephenson
Texas Bar No. 24049535
HUSCH BLACKWELL LLP
2001 Ross Avenue, Suite 2000
Dallas, Texas 75201
Phone: (214) 999-6100
Fax: (214) 999-6170
Email: vickie.driver@huschblackwell.com
Email: crissie.stephenson@huschblackwell.com

COUNSEL FOR THE DEBTORS

                           UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

IN RE:                                                      §      CHAPTER 11
                                                            §
FOUNDATION HEALTHCARE, INC.,                                §      CASE NO. 17-42571-rfn-11
                                                            §      Lead Case
                           DEBTOR.                          §
                                                            §      Complex Case
----------------------------------------------------------- §      Jointly Administered

                                                            §
IN RE:                                                      §      CHAPTER 11
                                                            §
UNIVERSITY GENERAL HOSPITAL, LLC, §                                CASE NO. 17-42570
                                                            §
                           DEBTOR.                          §      Complex Case
                                                            §      Jointly Administered
----------------------------------------------------------- §      Under Lead Case
 

            NOTES REGARDING AMENDED SCHEDULES OF ASSETS AND
         LIABILITIES AND AMENDED STATEMENT OF FINANCIAL AFFAIRS

       On June 21, 2017 (the “Petition Date”), Foundation HealthCare, Inc., and University
General Hospital, LLC each filed voluntary petitions for relief under chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Northern District of Texas, Fort Worth Division (the “Bankruptcy Court”). The Debtors have
requested, and the Bankruptcy Court has so ordered, that their cases be jointly administered
under Case No. 17-42571.

        Since that date, with the assistance of its Bankruptcy Court approved advisors, the
Debtors determined certain changes should be made to the original Schedules of Assets and
Liabilities and the Statement of Financial Affairs, and prepared the annexed Amended Schedules


                                                        1
Case 17-42571-rfn11 Doc 94 Filed 08/04/17             Entered 08/04/17 15:33:57       Page 2 of 125



of Assets and Liabilities (the “Schedules”) and the Amended Statement of Financial Affairs (the
“SOFAs” and together with the Schedules, the “Schedules and SOFAs”) pursuant to section 521
of the Bankruptcy Code and Rule 1007 of the Federal Rules of Bankruptcy Procedure. The
Schedules and SOFAs are unaudited and do not purport to represent financial statements
prepared in accordance with Generally Accepted Accounting Principles in the United States
(“GAAP”), and they are not intended to be fully reconciled to the financial statements. The
original Schedules and SOFAs were filed on July 6, 2017, at Docket Nos. 36 and 37 and Nos. 42
and 43, respectively.

Although the Debtors’ advisors and remaining officers, directors and contract employees have
made every reasonable effort to ensure that the Schedules and SOFAs are accurate and
complete based on information that was available to them at the time of preparation, subsequent
information or discovery may result in material changes to these Schedules and SOFAs, and
inadvertent errors or omissions may have occurred. Subsequent receipt of information or an
audit may result in material changes in financial data requiring amendment of the Schedules
and SOFAs. These notes regarding each of the Debtor’s Schedules and SOFAs (the “Notes”)
comprise an integral part of such Debtor’s Schedules and SOFAs and should be referenced in
connection with any review of the Schedules and SOFAs. Nothing contained in the Schedules
and SOFAs shall constitute a waiver of any rights or claims of the Debtor against any third
party, or in or with respect to any aspect of these chapter 11 cases.

       1.      Amendments. The Debtors reserve the right to amend or supplement the
 Schedules and SOFAs as necessary or appropriate.

         2.     Asset Presentation. Most assets and liabilities of the Debtors are shown on the
 basis of the book value in the respective Debtor’s books and records, as of December 31,
 2016, and not on the basis of current market values of such interest in property or liabilities;
 provided, however, that some adjustments have been made when the information was
 available subsequent thereto. In certain instances, where book value is known to be materially
 inaccurate, the Debtor listed some assets and liabilities as having an “unknown” value. The
 Debtors reserve their right to amend or adjust the value of each asset or liability set forth
 herein.

         3.      Liabilities. The Debtors sought to allocate liabilities between the prepetition
 and postpetition periods based on the information and research that was conducted in
 connection with the preparation of the Schedules and SOFAs. As additional information
 becomes available and further research is conducted, the allocation of liabilities between
 prepetition and postpetition periods may change. The Debtors also reserve the right to change
 the allocation of liability to the extent additional information becomes available.

         4.      Causes of Action. Despite reasonable efforts, the Debtors may not have
 identified or set forth all of its causes of action against third parties as assets in its Schedules
 and SOFAs. The Debtors reserve any and all of their rights with respect to any causes of
 action they each may have, and neither these Notes nor the Schedules and SOFAs shall be
 deemed a waiver of any such causes of action.




                                                  2
Case 17-42571-rfn11 Doc 94 Filed 08/04/17             Entered 08/04/17 15:33:57       Page 3 of 125



         5.      Claim Description. Any failure to designate a claim on the Schedules or
 SOFAs as “disputed,” “contingent” or “unliquidated” does not constitute an admission by the
 respective Debtor that such claim is not “disputed,” “contingent” or “unliquidated.” The
 Debtors reserve the right to dispute, or to assert offsets or defenses to, any claim reflected on
 its Schedules and SOFAs as to amount, liability, priority, secured or unsecured status, or
 classification, or to otherwise designate any claim as “disputed,” “contingent” or
 “unliquidated” by filing and serving an appropriate amendment. The Debtors also reserve the
 right to amend their Schedules or SOFAs as necessary or appropriate.

       6.       Property and Equipment. The Debtors have not completed a physical inventory
of any of their owned equipment, merchandise or other physical assets and any information set
forth in the Schedules and SOFAs may be over or understated. Further, nothing in the
Schedules or SOFAs (including, without limitation, the failure to list leased property or
equipment as owned property or equipment) is or shall be construed as an admission as to the
determination of legal status of any lease (including whether any lease is a true lease or
financing arrangement), and the Debtors reserve all of their rights with respect to such issues.
Notwithstanding the foregoing, an inventory of supplies for UGH was conducted in December
2016.

         7.     Insurance. The Debtors have, in the past, maintained a variety of insurance
 policies including property, general liability, and workers’ compensation policies and other
 employee- related policies. The Debtors’ interest in these types of policies is limited to the
 amount of the premiums that the Debtor has prepaid, if any, as of Petition Date. To the best of
 each Debtor’s knowledge, no such prepayments exist. The Debtors do reserve all rights to
 refunds of any overpayments of premiums paid on any insurance policies.

        8.        Insiders. In the circumstances where the Bankruptcy Schedules require
information regarding insiders or officers and directors, included herein are the relevant Debtor’s
(a) directors (or persons in similar positions) and (b) officers. The listing of a party as an insider
is not intended to be nor should it be construed as a legal characterization of such party as an
insider and does not act as an admission of any fact, claim, right or defense and all such rights,
claims and defenses are hereby expressly reserved. Further, employees have been included in
this disclosure for informational purposes only and should not be deemed to be “insiders” in
terms of control of the Debtor, management responsibilities or functions, decision-making or
corporate authority or as otherwise defined by applicable law, including, without limitation, the
federal securities laws, or with respect to any theories of liability or for any other purpose.

       9.       Schedule A/B—Real and Personal Property. As of the Petition Date, certain
equipment and property was foreclosed upon, repossessed, or picked up by various parties.
While the Debtors have attempted to identify each such situation, that analysis is made
complicated by the fact that the UGH Debtor is no longer in possession of that leased premises.
To the extent any Debtor learns of a piece of property that has been subject to a repossession or
foreclosure impacting the listing in this schedule, such Debtor reserves the right to amend such
Schedule and SOFA reflecting same.




                                                  3
Case 17-42571-rfn11 Doc 94 Filed 08/04/17           Entered 08/04/17 15:33:57       Page 4 of 125



        10.      Schedule D—Creditors Holding Secured Claims. Except as specifically stated
herein, real property lessors, utility companies and other parties which may hold security
deposits have not been listed on Schedule D. The Debtors have not included on Schedule D all
parties that may believe their claims are secured through setoff rights, deposits posted by, or on
behalf of, the Debtors, or inchoate statutory lien rights. While reasonable efforts have been
made, determination of the date upon which each claim in Schedule D was incurred or arose
would be unduly and cost prohibitive, and therefore, the Debtors may not list a date for each
claim listed on Schedule D.

         11.     Schedule F—Creditors Holding Unsecured Nonpriority Claims. The liabilities
identified in Schedule F are derived from the respective Debtor’s books and records, which may
or may not, in fact, be completely accurate, but they do represent a reasonable attempt by each
Debtor to set forth its unsecured obligations. Accordingly, the actual amount of claims against
each Debtor may vary from the represented liabilities. Parties in interest should not accept that
the listed liabilities necessarily reflect the correct amount of any unsecured creditor’s allowed
claims or the correct amount of all unsecured claims. Similarly, parties in interest should not
anticipate that recoveries in these cases will reflect the relationship of aggregate asset values
and aggregate liabilities set forth in the Schedules and SOFAs. Parties in interest should consult
their own professionals or advisors with respect to pursuing a claim. Although the Debtors and
their professionals have generated financials the Debtors believe to be reasonable, actual
liabilities (and assets) may deviate from the Schedules and SOFAs due to certain events that
may occur throughout the duration of these chapter 11 cases.

         12.    Schedule H – Codebtors. It is possible that some of the Debtors affiliates,
including one another in some instances, may be viewed by a particular creditor as being co-
obligors on such debt. However, none of those affiliates are viewed by the Debtors as having
any ability to pay those debts and many are owned in whole or in part by one of the Debtors,
FHI. Finally, it would be unduly burdensome and of relatively little to no value to the Debtors’
estates to attempt to delineate those co-obligors for each debt. Consequently, the Debtors have
not listed those as co-debtors on Schedule H.

        13.    Statement of Financial Affairs 19(d) – Financial Statements. The Debtors have
each undertaken reasonable efforts to identify all financial institutions, creditors and other
parties to whom a financial statement was issued within two years immediately preceding the
Petition Date. The Debtors reserve their rights to subsequently supplement or amend Statement
19d upon discovery of additional information.

       14.     Statement of Financial Affairs 4 and 30 – Payments within One Year to Insider.
The information available at the time of filing has been included; however, information
regarding stock options, redemptions, and potential loan reductions were unavailable and have
not been included.

        15.     Specific Notes. These General Notes are in addition to the specific notes set
forth in the individual Schedules and SOFAs. Disclosure of information in one Schedule,
SOFA, exhibit, or continuation sheet even if incorrectly placed, shall be deemed to be disclosed
in the correct Schedule, SOFA, exhibit or continuation sheet.


                                                4
Case 17-42571-rfn11 Doc 94 Filed 08/04/17        Entered 08/04/17 15:33:57     Page 5 of 125




        16.   Totals. All totals that are included in the Schedules represent totals of the
liquidated amounts for the individual schedule for which they are listed.

       17.    Unliquidated Claim Amounts. Claim amounts that could not be fairly quantified
by the Debtors are scheduled as “unliquidated” or “unknown.”

        18.     General Reservation of Rights. The Debtors specifically reserve the right to
amend, modify, supply, correct, change or alter any part of their Schedules and SOFAs as and
to the extent necessary as they each deem appropriate.




                                             5
           Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                          Entered 08/04/17 15:33:57                Page 6 of 125
 Fill in this information to identify the case:

 Debtor name          University General Hospital, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)              17-42570-rfn11
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Amegy Bank NA                                 Describe debtor's property that is subject to a lien                         $0.00                    $0.00
        Creditor's Name                               NOTICE ONLY
        5 Post Oak Parkway
        Third Floor, Suite 4400
        Houston, TX 77027
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Cardinal Health                               Describe debtor's property that is subject to a lien                         $0.00                    $0.00
        Creditor's Name                               NOTICE ONLY
        7000 Cardinal Place
        Dublin, OH 43017
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                           Entered 08/04/17 15:33:57               Page 7 of 125
 Debtor       University General Hospital, LLC                                                         Case number (if know)    17-42570-rfn11
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



       First Financial Corporate
 2.3                                                                                                                       $2,136,334.31    $5,000,000.00
       Leasing, LLC                                   Describe debtor's property that is subject to a lien
       Creditor's Name                                Medical Equipment
       771 Kimberly Avenue
       Placentia, CA 92870
       Creditor's mailing address                     Describe the lien
                                                      Capital Lease
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       12/31/2015                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6001
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4   Republic Bank                                  Describe debtor's property that is subject to a lien                        $0.00                $0.00
       Creditor's Name                                NOTICE ONLY
       801 North 500 West, Suite
       103
       Woods Cross, UT 84087
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



       Siemens Financial
 2.5                                                                                                                              $0.00                $0.00
       Services, Inc.                                 Describe debtor's property that is subject to a lien
       Creditor's Name                                NOTICE ONLY
       170 Wood Avenue South
       Iselin, NJ 08830
       Creditor's mailing address                     Describe the lien




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                           Entered 08/04/17 15:33:57               Page 8 of 125
 Debtor       University General Hospital, LLC                                                         Case number (if know)    17-42570-rfn11
              Name

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



       Siemens Medical Solutions
 2.6                                                                                                                              $0.00                $0.00
       USA, Inc.                                      Describe debtor's property that is subject to a lien
       Creditor's Name                                NOTICE ONLY
       51 Valley Stream Parkway
       Malvern, PA 19355
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.7   Texas Capital Bank                             Describe debtor's property that is subject to a lien                 $7,303,755.03    $1,871,146.25
       Creditor's Name                                Loans
       2350 Lakeside Boulevard,
       Suite 800
       Richardson, TX 75082
       Creditor's mailing address                     Describe the lien
                                                      Secured Lien
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       12/31/2015                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                           Entered 08/04/17 15:33:57                 Page 9 of 125
 Debtor       University General Hospital, LLC                                                         Case number (if know)      17-42570-rfn11
              Name


       Toshiba America Medical
 2.8                                                                                                                            $52,931.13          $59,698.20
       41374478                                       Describe debtor's property that is subject to a lien
       Creditor's Name                                Surgical Table
       PO Box 911608
       Denver, CO 80291-1608
       Creditor's mailing address                     Describe the lien
                                                      Capital Lease
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       06/01/2016                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4478
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



       Toshiba America Medical
 2.9                                                                                                                            $65,740.99          $74,146.00
       41377578                                       Describe debtor's property that is subject to a lien
       Creditor's Name                                Washer Disinfector
       PO Box 911608
       Denver, CO 80291-1608
       Creditor's mailing address                     Describe the lien
                                                      Capital Lease
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       06/10/2016                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7578
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Toshiba America Medical
 0     41377579                                       Describe debtor's property that is subject to a lien                     $104,852.61         $118,259.00
       Creditor's Name                                Mobile X-Ray
       PO Box 911608
       Denver, CO 80291-1608
       Creditor's mailing address                     Describe the lien
                                                      Capital Lease
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       01/08/2016                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
           Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                         Entered 08/04/17 15:33:57                 Page 10 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if know)       17-42570-rfn11
              Name

       Last 4 digits of account number
       7579
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                              $9,663,614.0
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         7

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 5 of 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
           Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                             Entered 08/04/17 15:33:57                 Page 11 of 125
 Fill in this information to identify the case:

 Debtor name         University General Hospital, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)          17-42570-rfn11
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $210.00        $210.00
           Texas Department of Licensing                             Check all that apply.
           and Regula                                                 Contingent
           920 Colorado St                                            Unliquidated
           Austin, TX 78701                                           Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $1,584.00         $1,584.00
           Texas State Comptroller                                   Check all that apply.
           PO Box 13528                                               Contingent
           Austin, TX 78711                                           Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                   54078                                 Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 12 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,907.10
          AAF International                                                   Contingent
          24828 Network Place                                                 Unliquidated
          Chicago, IL 60673-1248                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ABBEY, THERESA                                                      Contingent
          4009 WINGTAIL WAY
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,575.53
          Abbott Vascular                                                     Contingent
          75 Remittance Drive, Suite 1138                                     Unliquidated
          Chicago, IL 60675                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ABON, SHERILL                                                       Contingent
          3231 NORVILLE LANE
          HOUSTON, TX 77047
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ABRAHAM, SUSAN                                                      Contingent
          5943 UNION SPRINGS
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,001.12
          Acadian Ambulance Services                                          Contingent
          PO Box 92970                                                        Unliquidated
          Lafayette, LA 70509                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,423.33
          Acute Medical Services LLC                                          Contingent
          PO Box 15010                                                        Unliquidated
          Humble, TX 77346                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 13 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ADAMS, DANA                                                         Contingent
          2525 SAINT CHRISTOPHERS AVE # APT
          914
                                                                              Unliquidated
          LEAGUE CITY, TX 77573                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ADENIYI, OLUWATOYIN                                                 Contingent
          6658 MILLER SHADOW LN
          SUGARLAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ADIGUN, COMFORT                                                     Contingent
          9217 SUNBONNET DR
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ADJEI, MICHAEL                                                      Contingent
          9000 FONDREN #332C
          HOUSTON, TX 77074
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Advanced Biologics LLC
          c/o Mark Schuck                                                     Contingent
          The Schuck Law Firm                                                 Unliquidated
          700 Louisiana Street, Suite 4800                                    Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred 10/30/2014
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $51,644.50
          AESCULAP Implant Systems, LLC                                       Contingent
          PO Box 780391                                                       Unliquidated
          Philadelphia, PA 19178                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          AGU, OGECHI                                                         Contingent
          2003 RUFFIAN LN
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 14 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          AGUILAR, ALEJANDRO                                                  Contingent
          915 DEBOLL
          HOUSTON, TX 77022
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,919.12
          Airgas, Inc                                                         Contingent
          259 N. Radnor-Chester Rd                                            Unliquidated
          Radnor, PA 19087                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,551.22
          Airpal Inc                                                          Contingent
          PO Box 1000                                                         Unliquidated
          Limeport, PA 18060                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,155.00
          AirScan Tech                                                        Contingent
          PO Box 1539                                                         Unliquidated
          Springtown, TX 76082                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          AKINBOYEWA, ADEYEMI                                                 Contingent
          19002 MISSION PARK DRIVE
          RICHMOND, TX 77407
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ALBANA, SIREEN                                                      Contingent
          2423 WINROCK BLVD # 184
          HOUSTON, TX 77057
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,843.84
          Alere Informatics, Inc                                              Contingent
          PO Box 845849                                                       Unliquidated
          Boston, MA 02204-5849                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 15 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,894.00
          Alere North America, LLC                                            Contingent
          PO Box 846153                                                       Unliquidated
          Boston, MA 02284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ALEXANDER, JAMES                                                    Contingent
          2931 YEARLING COLT CT
          HOUSTON, TX 77038
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ALI, HINA                                                           Contingent
          5556 NEW TERRITORY BLVD #4204
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ALLEN-MARKS, FELICIA                                                Contingent
          1923 WINDY PLAIN CT
          SPRING, TX 77388
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,432.65
          Allergan USA, Inc                                                   Contingent
          12975 Collections Cener Dr                                          Unliquidated
          Chicago, IL 60693-0129                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $32,503.25
          ALLIANCE MT INC                                                     Contingent
          1795 N. FRY ROAD #191                                               Unliquidated
          KATY, TX 77449                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $150.00
          Alliance Spine, LLC                                                 Contingent
          14206 Northbrook Dr.                                                Unliquidated
          San Antonio, TX 78232                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 16 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $73,366.80
          ALLIED HEALTH SERVICES                                              Contingent
          PO BOX 1011                                                         Unliquidated
          SUGAR LAND, TX 77487                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,102.28
          AllMedia, Inc.                                                      Contingent
          PO Box 262468                                                       Unliquidated
          Plano, TX 75026                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ALVARADO, SIMONA                                                    Contingent
          125 E SHERWOOD DRIVE
          ALVIN, TX 77511
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $70,707.00
          Always in Season Inc                                                Contingent
          PO Box 271502                                                       Unliquidated
          Houston, TX 77277                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,683.33
          Amendia                                                             Contingent
          1755 West Oak Parkway                                               Unliquidated
          Marietta, GA 30062                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          American Equifinance Corporation
          c/o Toby C. Easley                                                  Contingent
          Matthews Easley Chaney, P.C.                                        Unliquidated
          13430 Northwest Freeway, Suite 990                                  Disputed
          Houston, TX 77040-6197
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred 01/16/2015
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,989.03
          American Proficiency Institute                                      Contingent
          Department 9526                                                     Unliquidated
          Lansing, MI 48909                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 17 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          AMPANAT, BINU                                                       Contingent
          6014 TWIN CREEK
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,700.06
          Amtec Medical Inc                                                   Contingent
          3709 Promontory Point Dr                                            Unliquidated
          Austin, TX 78744                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ANAKANI, VICTORIA                                                   Contingent
          7010 CLUSTERING OAK CT
          RICHMOND, TX 77407
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ANDERSON, SHAWNER                                                   Contingent
          8022 JANE ST
          MANVEL, TX 77578
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $187,040.63
          AngioDynamics                                                       Contingent
          PO Box 1549                                                         Unliquidated
          Albany, NY 12201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ANGWECH, STELLA                                                     Contingent
          9111 LAKES AT 610 DR #321
          HOUSTON, TX 77054
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ANZARA, EBRIN                                                       Contingent
          7135 WESTBRANCH DR.
          HOUSTON, TX 77072
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 7 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 18 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $16,486.55
          Applied Medical                                                     Contingent
          PO Box 3511                                                         Unliquidated
          Carol Stream, IL 60132-3511                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,750.00
          ARGOS IOM SERVICES, LP                                              Contingent
          6140 HIGHWAY 6 #211                                                 Unliquidated
          MISSOURI CITY, TX 77459                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $136,737.04
          Arjohuntleigh, Inc                                                  Contingent
          PO Box 644960                                                       Unliquidated
          Pittsburgh, PA 15264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,230.00
          ARMS, Inc                                                           Contingent
          3585 NE 207th St # 815                                              Unliquidated
          Miami, FL 33280                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ARMSTRONG, DEBRA                                                    Contingent
          2503 PLANTATION CT
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ARNOLD, DANIELLE                                                    Contingent
          701 CR 2178
          CLEVELAND, TX 77327
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ARNOLD, MICHAEL                                                     Contingent
          5816 MISTY MEADOW
          LEAGUE CITY, TX 77573
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 8 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 19 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,077.84
          Arthrex, Inc.                                                       Contingent
          PO Box 403511                                                       Unliquidated
          Atlanta, GA 30384                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,527.79
          Asahi Intecc USA, Inc.                                              Contingent
          2500 Red Hill Avenue                                                Unliquidated
          Santa Ana, CA 92705                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,914.91
          ASPYRA, LLC                                                         Contingent
          705 SW 10TH STREET                                                  Unliquidated
          BLUE SPRINGS, MO 64015                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,033.64
          AT&T                                                                Contingent
          PO Box 5091                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ATKINSON, MYRON                                                     Contingent
          2407 BEACON POINTE
          PEARLAND, TX 77584-5206
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          AUGUST, TRESSIE                                                     Contingent
          3200 N MACGREGOR WAY APT #22
          HOUSTON, TX 77004
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          AUGUSTINE, SHIJIMOL                                                 Contingent
          907 OVERDELL DR
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 9 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 20 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          AUSTIN, DENISE                                                      Contingent
          PO BOX 771582
          HOUSTON, TX 77215
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,710.10
          Auto San, LLC                                                       Contingent
          PO Box 171415                                                       Unliquidated
          Memphis, TN 38187                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,950.00
          Axis Dialysis                                                       Contingent
          PO Box 1101                                                         Unliquidated
          Bellaire, TX 77402                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BABU, BIBIN                                                         Contingent
          2410 1ST STREET
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BAGUISA, MARISSA                                                    Contingent
          22114 WINTER SKY LN
          RICHMOND, TX 77469
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BAILEY, DON                                                         Contingent
          7818 DUFFIELD LANE
          HOUSTON, TX 77071-2115
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BAILEY, JOHNNIETA                                                   Contingent
          601 CYPRESS STATION DR #808
          HOUSTON, TX 77090
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 10 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 21 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BALDEMOR, DOMINICA                                                  Contingent
          13109 SHOALWATER LN
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BALDWIN, MIA                                                        Contingent
          22594 STILLWATER VALLEY LN
          PORTER, TX 77365
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BANKS, TINA                                                         Contingent
          1303 GREENSPARKWAY #503
          HOUSTON, TX 77067
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,379.07
          Baptist Health System                                               Contingent
          Laboratory Outreach                                                 Unliquidated
          San Antonio, TX 78205                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BARLAAN, ANGELA C                                                   Contingent
          8911 GAUGE HOLLOW CT
          RICHMOND, TX 77407
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BARRETT, ADEDOYIN                                                   Contingent
          8930 INGLEBROOK LANE
          HOUSTON, TX 77083
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BARROW, DEIDRA                                                      Contingent
          755 1/2 MARJORIE
          HOUSTON, TX 77088
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 11 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 22 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BASS, MISTY M.                                                      Contingent
          701 CR2178
          CLEVELAND, TX 77327
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BATTS, VORICE                                                       Contingent
          12255 WEST MARSHAM DR
          HOUSTON, TX 77066
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,689.11
          Baxter HealthCare Corp                                              Contingent
          PO Box 730531                                                       Unliquidated
          Dallas, TX 75373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $646.47
          Bayer HealthCare                                                    Contingent
          PO Box 360172                                                       Unliquidated
          Pittsburgh, PA 15251                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,500.00
          Baylor College of Medicine                                          Contingent
          PO Box 301207                                                       Unliquidated
          Dallas, TX 75303                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $33,911.18
          Beckman Coulter                                                     Contingent
          Dept. CH 10164                                                      Unliquidated
          Palatine, IL 60055                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BENCHAMIN, SOOSAIRANI                                               Contingent
          527 OAKDALE DR
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 12 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 23 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BENITEZ, YENI                                                       Contingent
          2666 ENSBROOK MEADOW LANE
          KATY, TX 77449
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $600.00
          Best Choice Anesthesia & Pain PLLC Group                            Contingent
          7010 Champion Plaza Suite 300                                       Unliquidated
          Houston, TX 77069                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $700.00
          Best Choice Anesthesia & Pain Svs LLC                               Contingent
          PO Box 3856                                                         Unliquidated
          Houston, TX 77253-3866                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,081.38
          Best Receivables Management                                         Contingent
          12655 N. Central Expy, Suite 315                                    Unliquidated
          Dallas, TX 75243                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BEWLEY, DENISE                                                      Contingent
          4031 DANPREE
          PASADENA, TX 77504
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BIJU, ROSAMMA                                                       Contingent
          806 HOLLYHOCK DRIVE
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,027.67
          Biomerieux                                                          Contingent
          PO Box 500308                                                       Unliquidated
          St. Louis, MO 63150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 13 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 24 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $31,921.44
          Biomet Orthopedics                                                  Contingent
          PO Box 587                                                          Unliquidated
          Warsaw, IN 46581-0587                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,874.15
          BioMet Sports Medicine                                              Contingent
          75 Remittance Drive                                                 Unliquidated
          Chicago, IL 60675                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,895.00
          Bioventus LLC                                                       Contingent
          PO Box 732824                                                       Unliquidated
          Dallas, TX 75373-2824                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BLANCHARD, MARK                                                     Contingent
          335 ABNEY DR
          HOUSTON, TX 77060
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BODOSO, MARIA                                                       Contingent
          3211 NORTHGATE COURT
          MANVEL, TX 77578
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $71,685.00
          Bone Bank Allografts                                                Contingent
          PO Box 205609                                                       Unliquidated
          Dallas, TX 75320-5609                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BONNER, ASHLEY                                                      Contingent
          445 MOBILE LN
          CLUTE, TX 77531
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 14 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 25 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $58,711.08
          Boston Scientific Corporation                                       Contingent
          PO Box 951653                                                       Unliquidated
          Dallas, TX 75395                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BOTTOMS, BARBARA                                                    Contingent
          6239 LYMBAR DR
          HOUSTON, TX 77096
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BOULT, SHANNON                                                      Contingent
          990 CYPRESS STATION DR. APT 405
          HOUSTON, TX 77090
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $855.21
          Bracco Diagnostics                                                  Contingent
          PO Box 978952                                                       Unliquidated
          Dallas, TX 75397                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BRADDY, TERRY                                                       Contingent
          7168 JETTY LANE
          HOUSTON, TX 77072
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BRADEN, CHARLOTTE                                                   Contingent
          14119 SEAGLER SPRINGS LANE
          HOUSTON, TX 77044
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BRADLEY, DANA                                                       Contingent
          1414 CASTLE COURT #1
          HOUSTON, TX 77006
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 15 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 26 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BRAZIL, MARJORIE                                                    Contingent
          15911 INWOOD LANE
          MISSOURI CITY, TX 77489
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BREITSTEIN, TALLY                                                   Contingent
          6034 SPRING CREEK GROVE LN, N/A
          SPRING, TX 77379
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BREWER, TIFFANY                                                     Contingent
          7018 DARIEN ST
          HOUSTON, TX 77028
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BROUSSARD, KRYSTAL                                                  Contingent
          414 CALLOWAY
          HOUSTON, TX 77029
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BROWN, CANDICE                                                      Contingent
          11810 GREEN CANYON DR
          HOUSTON, TX 77044
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BROWN, CHARLOTTEE                                                   Contingent
          7710 LONG SHADOWS DRIVE
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BROWN, LAMETRA                                                      Contingent
          14231 FM 1464 RD APT#11305
          SUGAR LAND, TX 77498
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 16 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 27 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BROWN, MITCHELL                                                     Contingent
          7807 BELLAIRE BLVD
          HOUSTON, TX 77036
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BROWN, RUSSELL P.                                                   Contingent
          6714 LILAC MEADOWS LANE
          SPRING, TX 77379
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BROWN, VICKI                                                        Contingent
          13014 FERRY COVE LN
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $411.84
          Buchanan Technologies, Inc                                          Contingent
          P.O. Box 95274                                                      Unliquidated
          Grapevine, TX 76099-9752                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BUENCAMINO, SHEILA M                                                Contingent
          12915 CRESTWIND DR
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BURD, RHONDA                                                        Contingent
          4434 LEELAND ST
          HOUSTON, TX 77023-7702
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BUSH, CHRISTOPHER                                                   Contingent
          3714 MISTY RIDGE
          HUMBLE, TX 77396
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 17 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 28 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,099.45
          C.R. Bard Inc.                                                      Contingent
          PO Box 75767                                                        Unliquidated
          Charlotte, NC 28275                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CAASI, REMELITA                                                     Contingent
          16 INDIAN PALMS DRIVE
          MANVEL, TX 77578
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CABALLERO, HELEN                                                    Contingent
          7201 SPENCER HWY #20
          PASADENA, TX 77505
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CALLES, JOHNNY                                                      Contingent
          1815 LAZYCREEK
          PEARLAND, TX 77581
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CALLIER, LYNETTE                                                    Contingent
          7410 CADDO
          HOUSTON, TX 77016
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,903,061.29
          Cambridge International, LLC                                        Contingent
          7505 Fannin Street                                                  Unliquidated
          Houston, TX 77054                                                   Disputed
          Date(s) debt was incurred 12/31/2015
                                                                             Basis for the claim:    Building
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CAMPBELL, JAMIE                                                     Contingent
          3271 SUL ROSS #23
          HOUSTON, TX 77098
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 18 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 29 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CAPULONG, ERICSON                                                   Contingent
          8923 BUTTERSTONE RIDGE LANE
          RICHMOND, TX 77407
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CARAS, MAGDALENA                                                    Contingent
          13906 BLUE FALLS
          SUGAR LAND, TX 77478
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CARAS, TIMOTHY                                                      Contingent
          13906 BLUE FALLS DR
          SUGAR LAND, TX 77498
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,222.05
          Cardinal Health 414, LLC                                            Contingent
          Nuclear Pharmacy Services                                           Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $244,305.60
          CARDINAL HEALTH MEDICAL RESP                                        Contingent
          PO BOX 730112                                                       Unliquidated
          DALLAS, TX 75373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $136,922.39
          CardinalHealth - Pharmacy                                           Contingent
          PO Box 847384                                                       Unliquidated
          Dallas, TX 75284-7384                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $27,388.18
          Cardiovascular Systems, Inc.                                        Contingent
          Dept. CH 19348                                                      Unliquidated
          Palatine, IL 60055                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 19 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 30 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CARDONA, DELMA                                                      Contingent
          23431 AMOROSO ST.
          RICHMOND, TX 77406
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,361.68
          CareFusion                                                          Contingent
          25146 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $370.69
          CARL ZEISS MEDITEC, INC                                             Contingent
          PO BOX 100372                                                       Unliquidated
          PASADENA, CA 91189-0372                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CARR, RANDY                                                         Contingent
          12627 RIO LINDO ST
          ROSHARON, TX 77583-7758
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CARRANZA, HILDA L                                                   Contingent
          7855 LOG HOLLOW DR
          HOUSTON, TX 77040
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CARROLL, DOROTHY                                                    Contingent
          3311 SCOTCHMOSS LANE
          LAPORTE, TX 77571
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CASAS, JOSE                                                         Contingent
          9411 RIVER SIDE LODGE DR
          HOUSTON, TX 77083
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 20 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 31 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $145.64
          Case Medical, Inc                                                   Contingent
          19 Empire Blvd                                                      Unliquidated
          South Hackensack, NJ 07606                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CASTRO, MERCY                                                       Contingent
          3707 BOULDER RIDGE DR
          PEARLAND, TX 77581
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,375.00
          Cayenne Medical, Inc                                                Contingent
          Dept 2346                                                           Unliquidated
          Dallas, TX 75312-2346                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,534.29
          CDW Government                                                      Contingent
          75 Remittance Drive                                                 Unliquidated
          Chicago, IL 60675                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CELESTINE, ANN                                                      Contingent
          2207 BEACON LIGHT LN
          FRESNO, TX 77545
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,274.11
          CenterPoint Energy                                                  Contingent
          PO Box 4981                                                         Unliquidated
          Houston, TX 77210                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $80,250.00
          Centinel Spine Inc.                                                 Contingent
          505 Park Avenue                                                     Unliquidated
          New York, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 21 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 32 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,922.66
          Cerk Security LLC                                                   Contingent
          934 S 14th St                                                       Unliquidated
          La Porte, TX 77571                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CHAN, ALEXIS                                                        Contingent
          2300 OLD SPANISH TRAIL #1112
          HOUSTON, TX 77054
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CHANG, SHUAI                                                        Contingent
          2601 S BRAESWOOD #1205
          HOUSTON, TX 77025
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CHAPA, RICARDO                                                      Contingent
          8378 THORNCLIFF DR
          SAN ANTONIO, TX 78250
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CHARLES, BOBBY                                                      Contingent
          452 GARDENIA
          LAKE JACKSON, TX 77566
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CHELLAPPAN, AYSHA                                                   Contingent
          643 HAWTHORN PLACE
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CHERIAN, JINCY                                                      Contingent
          6322 ARCHER RANCH LANE
          ROSENBERG, TX 77471
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 22 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 33 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CHERIAN, REJI                                                       Contingent
          4614 CHAPEREL
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CHERIAN, SOSAMMA                                                    Contingent
          434 NADIA WAY
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,130.50
          Choice Spine, LP                                                    Contingent
          400 Elm Drive                                                       Unliquidated
          Knoxville, TN 37919                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,794.00
          CHOSEN MD TECHNOLOGIES, LLC                                         Contingent
          1707 POST OAK BLVD                                                  Unliquidated
          HOUSTON, TX 77056                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Christine Singleterry on Behalf of
          the Estate of James Singletary                                      Contingent
          c/o Monica C. Vaughan                                               Unliquidated
          1990 Post Oak Boulevard, Suite 800                                  Disputed
          Houston, TX 77056
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred 09/12/2014
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CHU, THUY AN                                                        Contingent
          19822 HERON SHADOWN CT
          RICHMOND, TX 77407
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CHUA, HENRISON                                                      Contingent
          12502 AUTUMN LEAF LN.
          HOUSTON, TX 77072
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 23 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 34 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CHUA, MAURA                                                         Contingent
          12502 AUTUMN LEAF LN.
          HOUSTON, TX 77072
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CHUA, WINSTON                                                       Contingent
          5411 SUMMER SPRING LN
          ROSHARON, TX 77583
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Cigna                                                               Contingent
          P O Box 13701                                                       Unliquidated
          Philadelphia, PA 19101-3701                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CLARK, REGINA                                                       Contingent
          3135 FERN ROCK DRIVE
          LAPORTE, TX 77571-3638
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CLAY, OLUWATOYIN                                                    Contingent
          10880 BARKER CYPRESS RD #5305
          CYPRESS, TX 77433
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CLAYTON, GAIL                                                       Contingent
          2800 KIRBY DR # A 429
          HOUSTON, TX 77098
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $78,145.55
          Clinical Pathology Laboratories, Inc                                Contingent
          PO Box 141669                                                       Unliquidated
          Austin, TX 78714                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 24 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 35 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $423,247.50
          Clinical Physicians Path Lab                                        Contingent
          PO Box 26013                                                        Unliquidated
          El Paso, TX 79926                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No     Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          COHN, AARON                                                         Contingent
          3022 FOUR WINDS DR.
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          COLLINS, BARBARA                                                    Contingent
          9018 FAIRGLADE DR N #8
          JACKSONVILLE, FL 23331
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          COMOLETTI, MELISSA                                                  Contingent
          5402 RENWICK DR #1115
          HOUSTON, TX 77081
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,198.88
          COMPREHENSIVE CARE SERVICES, INC                                    Contingent
          31330 SCHOOLCRAFT RD, SUITE 200                                     Unliquidated
          LIVONIA, MI 48150                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $514,045.02
          Comprehensive Pharmacy Services, LLC                                Contingent
          PO Box 638316                                                       Unliquidated
          Cincinnati, OH 45263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Comprehensive Pharmacy Services, LLC
          c/o Peter L. Scrimeca                                               Contingent
          Andrews Davis, P.C.                                                 Unliquidated
          100 N. Broadway, Suite 3300                                         Disputed
          Oklahoma City, OK 73102
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred 04/19/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 25 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 36 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $15,150.00
          ConforMIS                                                           Contingent
          PO Box 392311                                                       Unliquidated
          Pittsburgh, PA 15251                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,417.80
          ConMed Corporation                                                  Contingent
          Church Street Station                                               Unliquidated
          New York, NY 10249-6814                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $57,068.31
          Constellation                                                       Contingent
          14217 Collections Center Dr.                                        Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,364.31
          Cook Group Inc                                                      Contingent
          22988 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,784.25
          CooperSurgical, Inc                                                 Contingent
          PO Box 712280                                                       Unliquidated
          Cincinnati, OH 45271-2280                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $73,935.00
          CoreLink                                                            Contingent
          7606 Forsyth Boulevard                                              Unliquidated
          Clayton, MO 63105                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CORONADO, ANGELICA                                                  Contingent
          3200 MANGUM #209
          HOUSTON, TX 77092
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 26 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 37 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          COSSEY, CHARISSE                                                    Contingent
          5927 ALMEDA RD UNIT 21003
          HOUSTON, TX 77004
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $60,595.07
          Covidien                                                            Contingent
          PO Box 120823                                                       Unliquidated
          Dallas, TX 75312                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CRAWFORD, MARY E.                                                   Contingent
          1727 HIDDEN VALLEY
          HOUSTON, TX 77088
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CRIFF, MINNIE                                                       Contingent
          4815 EDFIELD
          HOUSTON, TX 77033
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CRUM, MAMIE                                                         Contingent
          8522 BRAEWICK DR
          HOUSTON, TX 77074
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,784.02
          Curatio Solutions LLC                                               Contingent
          6100 Camp Bowie Blvd                                                Unliquidated
          Suite 28                                                            Disputed
          Fort Worth, TX 76116
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,000.00
          CYBER LEASE, LLC                                                    Contingent
          18818 TELLER AVE                                                    Unliquidated
          IRVINE, CA 92626                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 27 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 38 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $50.90
          CyraCom, LLC                                                        Contingent
          PO Box 74008083                                                     Unliquidated
          Chicago, IL 60674-8083                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DANG, LINDA T                                                       Contingent
          4306 SPRING BROOK CT
          HOUSTON, TX 77041
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,816.22
          Daniels Sharpsmart, Inc.                                            Contingent
          PO Box 7697                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DAVIDSON, KINSEY                                                    Contingent
          7105 OLD KATY RD #3102
          HOUSTON, TX 77024
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DAVIS, PAUL                                                         Contingent
          11 WILBURN DR
          BAYTOWN, TX 77520
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DAVIS, SOPHIA                                                       Contingent
          2828 COLLINGSWORTH ST #101
          HOUSTON, TX 77026
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $825.90
          De Soutter Medical USA Inc                                          Contingent
          224 Rolling Hill Rd, Ste 12A                                        Unliquidated
          Moorseville, NC 28117                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 28 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 39 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DECABOOTER, ANTHONY C.                                              Contingent
          16378 WILD OAK LANE
          CONROE, TX 77302
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DELGADO, ERIC                                                       Contingent
          3206 CRESTBRIDGE LANE
          SPRING, TX 77388
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Delores Huling                                                      Contingent
          1741 Stewart Street                                                 Unliquidated
          Cedar Hill, TX 75104                                                Disputed
          Date(s) debt was incurred      02/16/2017
                                                                             Basis for the claim:    Litigation
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DELROSARIO, DOREEN                                                  Contingent
          3426 BREMERTON FALLS DR
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DENARD, ANDRE                                                       Contingent
          208 SILVERBROOK LN
          LEAGUE CITY, TX 77539
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,770.00
          DePuy Synthes Sales, Inc                                            Contingent
          PO Box 32639                                                        Unliquidated
          Palm Beach Gardens, FL 33420-2639                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DEWINDT, MARGARET                                                   Contingent
          523 CORTLANDT
          HOUSTON, TX 77007
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 29 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 40 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,873.88
          DFINE                                                               Contingent
          DEPT. CH19333                                                       Unliquidated
          PALANTINE, IL 60055                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DINH, MELISSA                                                       Contingent
          8827 ENCHANTED FOREST DR
          HOUSTON, TX 77088
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DIONISIO, ALMA                                                      Contingent
          10107 DAWN BROOK DR
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $598.93
          Dispatch Riders Inc.                                                Contingent
          5225 Katy Frwy., #245                                               Unliquidated
          Houston, TX 77007                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DIXON, DOROTHY M.                                                   Contingent
          10611 CAXTON STREET
          HOUSTON, TX 77016
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DIXON, JASMIN                                                       Contingent
          5350 AEROPARK DR #1003
          HOUSTON, TX 77032
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DIXON, YOLANDA                                                      Contingent
          10611 CAXTON ST
          HOUSTON, TX 77016
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 30 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 41 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,000.00
          Djo Surgical                                                        Contingent
          PO Box 660126                                                       Unliquidated
          Dallas, TX 00075-2600                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DO, ANDY                                                            Contingent
          16838 RIPPLING MILL
          SUGAR LAND, TX 77498
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DOE, JANE                                                           Contingent
          SOMEWHERE ST.
          HOUSTON, TX 77705
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DOMINO, LATASHA                                                     Contingent
          13607 BAYBREEZE VALLEY LANE
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,137.46
          Door Control Services Inc                                           Contingent
          PO Box 220                                                          Unliquidated
          Bettendorf, IA 52722-0004                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DOUGLAS, EURADELL                                                   Contingent
          6105 WEST OREM DRIVE #335
          HOUSTON, TX 77085
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DOUGLAS, SHARON                                                     Contingent
          8106 CARDWOOD
          HOUSTON, TX 77028
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 31 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 42 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DUAN, LUNG                                                          Contingent
          9634 JUDALON LANE
          HOUSTON, TX 77063-5102
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,000.00
          Duchman - Cardiology                                                Contingent
          6039 GLEN COVE ST                                                   Unliquidated
          HOUSTON, TX 77007                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DUFFEY, CHRISTINA                                                   Contingent
          19907 MISSION PINES LANE
          RICHMOND, TX 77407
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DUKE, ZEDEEKA                                                       Contingent
          2806 SEABOLD DRIVE
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DUPRE, JACQUES                                                      Contingent
          1234 N TEAL ESTATES CIR
          FRESNO, TX 77545
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          EAST, MARK L.                                                       Contingent
          6031 WESTOVER
          HOUSTON, TX 77033
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          EBBESSON, KARIN                                                     Contingent
          3311 YUPON ST APT 603
          HOUSTON, TX 77006-7700
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 32 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 43 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ECKERT, RUSSELL                                                     Contingent
          2800 HIRSCHFIELD RD APT. 83
          SPRING, TX 77373-7737
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,251.26
          ECOLAB                                                              Contingent
          PO Box 70343                                                        Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          EDWARDS, ETTA                                                       Contingent
          3961 CHARLESTON ST
          HOUSTON, TX 77021
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          EGBUNA, PATRICIA                                                    Contingent
          13526 VENICE VILLA LANE
          SUGAR LAND, TX 77498
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          EGWIM, EMMANUEL                                                     Contingent
          3003 SEAGLER RD #2212
          HOUSTON, TX 77042
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          EKOSANMI, OLOLADE                                                   Contingent
          2630 TANGLEWILDE STREET APT 135
          HOUSTON, TX 77063
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $40,740.00
          ELEGANT VALET SERVICE, LLC                                          Contingent
          2323 S VOSS RD STE 470                                              Unliquidated
          HOUSTON, TX 77057                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 33 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 44 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,937.05
          Entellus Medical                                                    Contingent
          3600 Holly Lane                                                     Unliquidated
          Plymouth, MN 55447                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ENYINNIA, BRIDGET                                                   Contingent
          11523 BOBWHITE DR
          HOUSTON, TX 77035
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ESCOTO, MAYRA                                                       Contingent
          9115 KLONDIKE ST
          HOUSTON, TX 77075
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ESPINOSA, STEVEN                                                    Contingent
          20302 ALCAPULCO COVE DR
          HUMBLE, TX 77346-7734
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ESPREE, ROSE                                                        Contingent
          8403 SHOTWELL STREET
          HOUSTON, TX 77016
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ESTRADA, TAMMY                                                      Contingent
          1220 RICHELIEU
          HOUSTON, TX 77018
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          EVANS, DELONDRIA                                                    Contingent
          3045 MARINA BAY DR APT #8201
          LEAGUE CITY, TX 77573
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 34 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 45 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $511.00
          Evoqua Water Technologies, LLC                                      Contingent
          28563 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,500.00
          Exactech US Inc.                                                    Contingent
          PO Box 674141                                                       Unliquidated
          Dallas, TX 75267-4141                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          EZEKWEM, ADA                                                        Contingent
          11735 ALIEF CLODINE DR #72
          HOUSTON, TX 77072
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          FELIX, QUINTINA                                                     Contingent
          5317 PALMER ST
          HOUSTON, TX 77004
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          FIELDS, AHREN                                                       Contingent
          3320 WINTER WAY
          HUNTSVILLE, TX 77340-7734
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,956.71
          Fire Safe Protection Services, LP                                   Contingent
          PO Box 1759                                                         Unliquidated
          Houston, TX 77251                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,258,549.16
          First Financial Corporate Leasing, LLC                              Contingent
          711 Kimberly Avenue                                                 Unliquidated
          Suite 160                                                           Disputed
          Placentia, CA 92870
                                                                             Basis for the claim:    Equipment Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 35 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 46 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $44,152.58
          First Insurance Funding Corp                                        Contingent
          450 Skokie Blvd                                                     Unliquidated
          Northbrook, IL 60062                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,874.18
          Fisher HealthCare                                                   Contingent
          3970 Johns Creek Court, Suite 500                                   Unliquidated
          Suwanee, GA 30024                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number       8001
                                                                             Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          FLORES, RUBEN                                                       Contingent
          6543 ARROYO SPRINGS LN
          FULSHEAR, TX 77441
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,985.71
          Flower Orthopedics Corporation                                      Contingent
          100 Witmer Dr                                                       Unliquidated
          Horsham, PA 19044                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          FLOWERS, ALICEA                                                     Contingent
          13303 CASSINI DR
          HOUSTON, TX 77044-7704
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          FLOWERS, EDWARD                                                     Contingent
          13303 CASSINI DR
          HOUSTON, TX 77044
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,950.00
          Foundation Ancilliary Services Affiliate                            Contingent
          9301 Southwest Freeway                                              Unliquidated
          Houston, TX 77074                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 36 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 47 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,412.72
          Frank Stubbs Co., Inc                                               Contingent
          1830 Eastman Ave                                                    Unliquidated
          Oxnard, CA 93030                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          FRAZIER, PARIS                                                      Contingent
          19151 WALLBROOK MEADOWS LN
          CYPRESS, TX 77433
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,421.74
          Freedom Medical Inc                                                 Contingent
          PO Box 822704                                                       Unliquidated
          Philadelphia, PA 19182-2704                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          FREEMAN, DEBRA                                                      Contingent
          16714 VILLAGE TRACE
          HOUSTON, TX 77053
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,620.30
          FUJIFILM Medical Systems                                            Contingent
          PO Box 347689                                                       Unliquidated
          Pittsburgh, PA 15251                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,456.00
          Fusion Medical Staffing, LLC                                        Contingent
          PO Box 82674                                                        Unliquidated
          Lincoln, NE 68501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GAINES, KENWICK                                                     Contingent
          11902 SHADY SANDS PL
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 37 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 48 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GAITAN, JUAN                                                        Contingent
          6413 ATWELL DR # 41
          HOUSTON, TX 77081
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GANS JR, FLOYD                                                      Contingent
          3434 DANBURY CHASE TRAIL
          FRESNO, TX 77545
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GANT, JERALD                                                        Contingent
          1314 BRENDA LN APT. C
          HUMBLE, TX 77338
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GARCIA, CECILIA                                                     Contingent
          2202CRESTON DR
          HOUSTON, TX 77026
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GARCIA, CYNTHIA                                                     Contingent
          5710 TRINITY DRIVE
          RICHMOND, TX 77469
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GARCIA, JANIE                                                       Contingent
          1406 CHERRY SPRINGS CT.
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GARCIA, LINA                                                        Contingent
          P O BOX 1584
          BAY CITY, TX 77404
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 38 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 49 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GARDNER, NICHOLE                                                    Contingent
          5811 CHASTE CT
          ROSENBERG, TX 77469
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GARNER, JULIE                                                       Contingent
          5404 W ORANGE ST
          PEARLAND, TX 77581-7758
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GARNER, REGINALD                                                    Contingent
          3119 SHILOH DR
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GARVASIS, JOSEPH                                                    Contingent
          13811 EVENING WIND DR
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $298,731.59
          GE HEALTHCARE                                                       Contingent
          PO BOX 640200                                                       Unliquidated
          PITTSBURGE, PA 15264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Financing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $33,449.84
          GE Medical Systems Information Technolog                            Contingent
          Attn: Accounts Receivable                                           Unliquidated
          75 Remittance Drive                                                 Disputed
          Chicago, IL 60675
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,467.38
          Genzyme Corporation                                                 Contingent
          62665 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693-0626                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 39 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 50 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GEORGE, LAILA                                                       Contingent
          215 ANGELA LN
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GEORGE, STANLEY                                                     Contingent
          3711 HILL FAMILY LANE
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GETAHUN, SEBLE                                                      Contingent
          6220 ALDER DR #3516
          HOUSTON, TX 77081
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $360.65
          GI Supply Specialty Endoscopic Products                             Contingent
          200 Grandview Avenue                                                Unliquidated
          Camp Hill, PA 17011                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GIBSON, HERETHA                                                     Contingent
          7215 FOX SCENE DR
          HUMBLE, TX 77338
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GIBSON-FARRIA, TENILLE                                              Contingent
          10550 VALLEY FORGE
          HOUSTON, TX 77042
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GLASPER, DANITRA                                                    Contingent
          20723 SLATE CT.
          RICHMOND, TX 77407
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 40 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 51 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GLENN, JENNIFER                                                     Contingent
          3000 MURWORTH APT# 208
          HOUSTON, TX 77025
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,000.00
          Global Crossing Conferencing                                        Contingent
          PO Box 790407                                                       Unliquidated
          Saint Louis, MO 63179                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Global Dialysis Plus, Inc.
          c/o Mark W. Collmer                                                 Contingent
          Collmer Law Group                                                   Unliquidated
          1221 Lamar Street, Suite 1302                                       Disputed
          Houston, TX 77010
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred 03/07/2014
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GODET, SANDY                                                        Contingent
          20111 SENDERA OAKS LANE
          CYPRESS, TX 77433
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GONZALEZ, LETICIA                                                   Contingent
          8067 EL MUNDO
          HOUSTON, TX 77054
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GONZALEZ, TRACEY                                                    Contingent
          3510 LAUDERWOOD LANE
          KATY, TX 77449
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,564.98
          Grainger                                                            Contingent
          Dept 886459235                                                      Unliquidated
          Kansas City, MO 64141                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 41 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 52 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GRAVES, IRENE                                                       Contingent
          6610 FIRNAT STREET
          HOUSTON, TX 77016
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GREEN, BEATRICE                                                     Contingent
          510 W REPUBLIC
          BAYTOWN, TX 77520
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GREEN, JASMINE                                                      Contingent
          16635 ROCKEAST DR
          HOUSTON, TX 77073
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GRIMES, JAMES W                                                     Contingent
          24605 BELVON VALLEY LN
          PORTER, TX 77365
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,686.00
          Guardian Facility Solutions LLC                                     Contingent
          20831 White Hyacinth Dr                                             Unliquidated
          Cypress, TX 77433                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GUEVARA, EVER                                                       Contingent
          2607 KENWICH OAKS LN
          KATY, TX 77449
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GUZMAN, ERICA                                                       Contingent
          927 DORCHESTER ST UNIT B
          HOUSTON, TX 77022
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 42 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 53 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HADIA, JAMES                                                        Contingent
          5610 LOTUS DR
          HOUSTON, TX 77085
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HALL, KIMMIE                                                        Contingent
          549 SAM RANDOLPH RD
          LIVINGSTON, TX 77351
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $21,685.68
          Halyard Sales, LLC                                                  Contingent
          PO Box 732583                                                       Unliquidated
          Dallas, TX 75373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HAMILTON, KEAIRE                                                    Contingent
          14545 BAMMEL N HOUSTON RD APT 2005
          HOUSTON, TX 77014-7701
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HAMILTON, MICHAEL                                                   Contingent
          1021 SKYLARK RD
          PASADENA, TX 77502
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HARDY, CAROLYN                                                      Contingent
          8431 OLD MAPLE LANE
          HUMBLE, TX 77338
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HARRIS, GLORIA                                                      Contingent
          9618 PINE BANK DRIVE
          HOUSTON, TX 77095
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 43 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 54 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HARRIS, NARICA                                                      Contingent
          3947 CAMELIA GLEN LN
          FRESNO, TX 77545
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HARRIS, TANYA                                                       Contingent
          16731 QUAIL BRIAR DR.
          HOUSTON, TX 77489
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HARRISON, ANTHONY W.                                                Contingent
          2910 HUNTINGTON WAY
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HAWTHORNE, ASHLEY                                                   Contingent
          3 HERMAN MUSEUM CIRCLE DR APT 3304
          HOUSTON, TX 77004
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HAYNES, JEFF W                                                      Contingent
          1213 CHUCK DRIVE
          FRIENDSWOOD, TX 77546
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $330,435.00
          Healthcare Affiliates Inc                                           Contingent
          1 Vale Road, Suite 200                                              Unliquidated
          Bel Air, MD 21014                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,607.68
          HealthCare Logistics                                                Contingent
          PO Box 400                                                          Unliquidated
          Circleville, OH 43113                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 44 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 55 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,871.52
          HealthStream, Inc                                                   Contingent
          PO Box 102817                                                       Unliquidated
          Atlanta, GA 30368-2817                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Hejdi Inc dba Allied Heaelth Services
          c/o Jason A. Richardson                                             Contingent
          Edison, McDowell & Hetherington LLP                                 Unliquidated
          1001 Fannin, Suite 2700                                             Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred 04/07/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HELTON, FREDINE                                                     Contingent
          3418 AVE O 1/2
          GALVESTON, TX 77550
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HENDERSON, DEMETRIS                                                 Contingent
          PO BOX 372
          HEARNE, TX 77859
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,224.31
          Henry Schein, Inc                                                   Contingent
          Dept CH 10241                                                       Unliquidated
          Palatine, IL 60055                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HERNANDEZ, ROSALEE R.                                               Contingent
          2010 MISTWOOD COURT
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HERRERA, JADABETH                                                   Contingent
          1408 CEDARWOOD
          PASADENA, TX 77502
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 45 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 56 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HERTHNECK, JOHN                                                     Contingent
          3106 VINCENT CROSSING DR
          SPRING, TX 77386
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HINOJOSA, PETRA                                                     Contingent
          5012 ARROWHEAD DR
          BAYTOWN, TX 77521
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HO, CHRISTOPHER                                                     Contingent
          2315 ARBOR ST
          HOUSTON, TX 77004
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,153.32
          Holder's Pest Control                                               Contingent
          PO Box 600730                                                       Unliquidated
          Jacksonville, FL 32260                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,149.00
          Houston Chronicle                                                   Contingent
          Credit Service Department                                           Unliquidated
          4747 Southwest Freeway                                              Disputed
          Houston, TX 77027-6901
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,798,040.70
          Houston Methodist Diagnostic Laboratorie                            Contingent
          6565 Fannin Street, B490                                            Unliquidated
          Houston, TX 77030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $400.53
          HP                                                                  Contingent
          Accounts Receivable                                                 Unliquidated
          11311 W. Chinden Blvd.                                              Disputed
          Garden City, ID 83714
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 46 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 57 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HUGHES, CHAD                                                        Contingent
          2312 ELMHURST CT
          SPRINGFIELD, IL 62704
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HUSSAIN, RAAFAE                                                     Contingent
          2401 WESTRIDGE ST #3309
          HOUSTON, TX 77054
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          IHEANACHO, AUGUSTINA I.                                             Contingent
          11735 BERRY MEADOW DR
          HOUSTON, TX 77071
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,955.00
          In2Bones USA LLC                                                    Contingent
          6060 Popular Ave                                                    Unliquidated
          Memphis, TN 38119                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $333.41
          Incisive Surgical                                                   Contingent
          14405 21st Avenue North                                             Unliquidated
          Plymouth, MN 55447                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,003.99
          Indeed, Inc.                                                        Contingent
          Mail Code 5160                                                      Unliquidated
          6433 Champion Grandview Way , Bldg. 1                               Disputed
          Austin, TX 78750
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,230.00
          Inion Inc                                                           Contingent
          2800 Glades Circle                                                  Unliquidated
          Weston, GL 33327                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 47 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 58 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,035.00
          Instratek                                                           Contingent
          15200 Middlebrook Dr.                                               Unliquidated
          Houston, TX 77058                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,470.56
          Integra LifeSciences                                                Contingent
          PO Box 404129                                                       Unliquidated
          Atlanta, GA 30384                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $841.88
          Integra Pain Management                                             Contingent
          PO Box 100416                                                       Unliquidated
          Atlanta, GA 30384                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $30,584.03
          Integrated Medical Systems                                          Contingent
          PO Box 2725                                                         Unliquidated
          Columbus, GA 31902-2725                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $16,310.00
          Intelligent Implant Systems, LLC                                    Contingent
          3300 International Airport Dr                                       Unliquidated
          Charlotte, NC 28208                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,405.00
          Intersect ENT                                                       Contingent
          1555 Adams Drive                                                    Unliquidated
          Menlo Park, CA 94025-1439                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $756.00
          Invuity, Inc.                                                       Contingent
          Dept CH 19705                                                       Unliquidated
          Palatine, IL 60055                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 48 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 59 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          IRONKWE, KAREN                                                      Contingent
          15314 WINDY COVE DR
          HOUSTON, TX 77095
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ITTOOP, ABEY                                                        Contingent
          4530 MILLSTONE CANYON LN
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $19,765.68
          J&J Health Care Systems, Inc                                        Contingent
          PO Box 406663                                                       Unliquidated
          Atlanta, GA 30384                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JACKS, KEMP                                                         Contingent
          1818 ASBURY LN
          DEER PARK, TX 77536-7753
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JACKSON, VERNA R.                                                   Contingent
          10005 CHESTERFIELD
          HOUSTON, TX 77051
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JACOB, RIJO                                                         Contingent
          707 S MARATHON WAY
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Jason M. Bahn, Individually and as Next
          Friend of Aiden J. Bahn, a Minor                                    Contingent
          c/o Darrell L. Keith                                                Unliquidated
          301 Commerce Street, Suite 2850                                     Disputed
          Fort Worth, TX 76102
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred 04/18/2016
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 49 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 60 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JEFFERY, JANICQUA                                                   Contingent
          10047 WESTPARK DR
          HOUSTON, TX 77042
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JERMANY, LAMAESHA                                                   Contingent
          3417 TANGERINE STREET
          HOUSTON, TX 77051
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Jessica Gwaltney                                                    Contingent
          c/o John S. Powell                                                  Unliquidated
          2405 S. Grand Boulevard                                             Disputed
          Pearland, TX 77581
          Date(s) debt was incurred 03/16/2017
                                                                             Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $354.38
          Joel Wane Follmar                                                   Contingent
          PO Box 122                                                          Unliquidated
          Liverpool, TX 77577                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          John and Melanie Amponsah
          c/o Everett Day                                                     Contingent
          Everett Day Law Firm                                                Unliquidated
          1811 Bering Ddrive, Suite 300                                       Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred 04/04/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JOHN, MERCY                                                         Contingent
          7015 LITTLE WILLOW DR
          PASADENA, TX 77505
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,018.42
          Johnson Controls                                                    Contingent
          PO Box 730068                                                       Unliquidated
          Dallas, TX 75373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 50 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 61 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JOHNSON, AUDIA                                                      Contingent
          303 NORTH BATES ST.
          ALVIN, TX 77511-7751
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JOHNSON, KARL                                                       Contingent
          6614 GORTON DR
          KATY, TX 77449
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JOHNSON, OVAEDIA                                                    Contingent
          6614 GORTON DRIVE
          KATY, TX 77449
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JONES, BARBARA                                                      Contingent
          3322 YELLOW STONE BLVD APT# 2102
          HOUSTON, TX 77021
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JONES, BRIANA                                                       Contingent
          3131 HURST GREEN LANE
          FRESNO, TX 77545
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JONES, KOKELYN                                                      Contingent
          5631 FLAMINGO DR
          HOUSTON, TX 77033
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JORDAN, ALESIA                                                      Contingent
          5239 DEWBERRY
          HOUSTON, TX 77021
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 51 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 62 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JORDAN, NATALIE                                                     Contingent
          8039 CROSS TRAIL DR
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,000.00
          Jorge Guerrero, M.D.                                                Contingent
          PO Box 230569                                                       Unliquidated
          Houston, TX 77223                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JOSEPH, ANNAMMA                                                     Contingent
          2639 PLANTATION HOLLOW CT
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JOSHUA, MARY                                                        Contingent
          4607 BLAKES RIDGE ST
          FRESNO, TX 77545
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $15,316.02
          JOY & YOUNG, LLP                                                    Contingent
          2499 S. CAPITAL OF TEXAS HWY                                        Unliquidated
          AUSTIN, TX 78746-7757                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JUGUILON, JEREMY                                                    Contingent
          2515 SUNLIGHT LANE
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,071.85
          K2M, Inc                                                            Contingent
          600 Hope Parkway SF                                                 Unliquidated
          Leeburg, VA 20175                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 52 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 63 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KANAAN, YASMEEN                                                     Contingent
          1829 AUGUSTA DR UNIT#10
          HOUSTON, TX 77057
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KANG, KYUNGRAN                                                      Contingent
          18325 KINGSLAND BLVD #1310
          HOUSTON, TX 77094
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KATCHI, SALMA                                                       Contingent
          3201 ELMRIDGE
          HOUSTON, TX 77025
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KAUFMAN, ARNOLD                                                     Contingent
          5119 INDIGO STREET
          HOUSTON, TX 77096
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $19,460.66
          KCI USA                                                             Contingent
          PO Box 301557                                                       Unliquidated
          Dallas, TX 75303                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KEBEDE, MERON                                                       Contingent
          5821 VINEYARD HILL DR
          PEARLAND, TX 77581
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $97.78
          Kelly Earsel                                                        Contingent
          15 Charleston Dr Apt # 513                                          Unliquidated
          Houston, TX 77025                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 53 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 64 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $102.00
          Kem Medical Products Corp                                           Contingent
          400 Broadhollow Road                                                Unliquidated
          Farmingdale, NY 11735                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,032.07
          Khalid Monzer                                                       Contingent
          1579 Pries Court                                                    Unliquidated
          Reno, NV 89523                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,000.00
          Khoa Nguyen                                                         Contingent
          7501 Fannin St.                                                     Unliquidated
          Houston, TX 77054                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KIMBROUGH, CHRISTINA                                                Contingent
          12410 WRENTHORPE DR
          HOUSTON, TX 77031
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $151.00
          King Guide Publications, Inc                                        Contingent
          Po Box 10317                                                        Unliquidated
          Napa, CA 94581                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KING, PATRICIA                                                      Contingent
          4129 DAWSON LN
          HOUSTON, TX 77051
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KING, TROY                                                          Contingent
          10555 FONDREN RD #1524
          HOUSTON, TX 77096-7709
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 54 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 65 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KNOTT II, KEITH                                                     Contingent
          22135 BUESCHER RD
          TOMBALL, TX 77377
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KOLASINAC, MELIHA                                                   Contingent
          12711 ASHFORD CHASE DR
          HOUSTON, TX 77082
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KOOPER, LAURETTA                                                    Contingent
          20103 EATONS CREEK CT
          KATY, TX 77449
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,995.00
          KR Medical Technologies, LLC                                        Contingent
          PO Box 279                                                          Unliquidated
          Roanoke, TX 76262                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KRAUSE, WOLFRAM                                                     Contingent
          32403 OXBOW COURT
          FULSHEAR, TX 77441-7744
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KREUZ, CAROLINE                                                     Contingent
          12911 PALM LEAF CT
          HOUSTON, TX 77004
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,591.57
          Kroger Burrus                                                       Contingent
          3100 Westayan, Suite 300                                            Unliquidated
          Houston, TX 77027                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 55 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 66 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KROMAH, FANTA                                                       Contingent
          9401 COVENTRY SQUARE DRIVE APT # 627
          HOUSTON, TX 77099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KROMAH, MAKEMAE                                                     Contingent
          10555 SPICE LN #1104
          HOUSTON, TX 77072
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KURUVILLA, LIZY                                                     Contingent
          3531 LANESBOROUGH DR
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LAM, DANNY                                                          Contingent
          8615 BELLE PARK DR
          HOUSTON, TX 77099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LANCLOS, MICHAEL                                                    Contingent
          1407 HWY 146S
          LAPORTE, TX 77571
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LAND, LATASHA                                                       Contingent
          3446 REBECCA
          HOUSTON, TX 77021
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,412.02
          Landauer                                                            Contingent
          PO Box 809051                                                       Unliquidated
          Chicago, IL 60680                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 56 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 67 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $435.00
          Landport Systems Inc                                                Contingent
          1630 North Main St.                                                 Unliquidated
          Walnut Creek, CA 94596                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,600.00
          Lantheus Medical Imaging, Inc                                       Contingent
          PO Box 101236                                                       Unliquidated
          Atlanta, GA 30392                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LARWA, MELISSA                                                      Contingent
          5406 THEALL RD
          HOUSTON, TX 77066
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LASSERRE, DEBRA                                                     Contingent
          1016 W. WALNUT
          COLEMAN, TX 76834-7683
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LAU, CHIU S.                                                        Contingent
          1135 BRAELINN LANE
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,098.81
          Lawrence Brown                                                      Contingent
          9309 Lugary                                                         Unliquidated
          Houston, TX 77074                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LAWSON, SHERIL                                                      Contingent
          3218 RUSHINGBROOK DR
          KINGWOOD, TX 77345
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 57 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 68 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $68,401.50
          LDR Spine USA Inc                                                   Contingent
          PO Box 671716                                                       Unliquidated
          Dallas, TX 75267                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LE, SANDI                                                           Contingent
          7019 MORNING SKY
          KATY, TX 77494
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Lea Barth, Individually and on Behalf of
          Ronald Barth, Deceased                                              Contingent
          c/o Jay Winckler                                                    Unliquidated
          4407 Bee Cave Road, Bldg. 2, Suite 222                              Disputed
          Austin, TX 78746
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred 04/05/2016
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LEDOUX, JENNIFER                                                    Contingent
          6318 GREEN VALE LN
          HOUSTON, TX 77066
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LEE, REALUS                                                         Contingent
          13503 NORTHBOROUGH DR #1302
          HOUSTON, TX 77067
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LEWIS, BARBARA                                                      Contingent
          4407 GROTON
          HOUSTON, TX 77047
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LEWIS, CASSANDRA                                                    Contingent
          4620 FM 565 SOUTH
          BAYTOWN, TX 77523
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 58 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 69 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LEWIS, GEORGE                                                       Contingent
          2622 30TH AVE N
          TEXAS CITY, TX 77590
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LEWIS, KARYN                                                        Contingent
          3327 COLLEVILLE SUR MER LN
          SPRING, TX 77388
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LEWIS, MONIQUE                                                      Contingent
          8022 BOSPHORUS ST
          HOUSTON, TX 77044-7704
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,979.06
          Lexion Medical LLC                                                  Contingent
          545 Atwater Circle                                                  Unliquidated
          Saint Paul, MN 55103                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LEYDON, TERRY                                                       Contingent
          15411 FAWN VILLA DR
          HOUSTON, TX 77068
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LIONTI, KAREN                                                       Contingent
          4558 BENNING DR
          HOUSTON, TX 77035
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LIVINGSTON, JORRELL                                                 Contingent
          25335 BUDDE RD # 311
          SPRING, TX 77380
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 59 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 70 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LOMAS JR, MANUEL                                                    Contingent
          1323 WOODFAIR DR
          RICHMOND, TX 77469
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LONGORIA, LOREE                                                     Contingent
          1018 GLADSTONE DR
          LEAGUE CITY, TX 77573
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LONGSWORTH, ANESSIA                                                 Contingent
          16623 SHORECREST
          HOUSTON, TX 77095
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LOOSA, AMELIA                                                       Contingent
          7534 S SANTA FE DR
          HOUSTON, TX 77061
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LOPEZ, RENE                                                         Contingent
          8990 RICHMOND AVE #400
          HOUSTON, TX 77063
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LU, PEIWEN                                                          Contingent
          2671 BRAZOS RIDGE DR
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LUQUE, MARIA                                                        Contingent
          1102 AVENUE K
          SOUTH HOUSTON, TX 77587
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 60 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 71 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LUTTRULL, JENNIFER                                                  Contingent
          4065 BRAESWOOD APT 178
          HOUSTON, TX 77025
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LYLE, NANCY                                                         Contingent
          1823 ASH FOREST DR
          KATY, TX 77450-7745
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LYNN, SHARON                                                        Contingent
          6415 WINDING COVE LN
          KATY, TX 77450
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MACKEY, CHARMAYNE                                                   Contingent
          9900 BROADWAY ST #2111
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,996.51
          Maine Standards Company LLC                                         Contingent
          221 US Route 1                                                      Unliquidated
          Cumberland Foreside, ME 04110                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MANALEL, MINIMOL                                                    Contingent
          5243 FOUNTAINBROOK LANE
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MANUEL, DAN A                                                       Contingent
          11919 MADISON KENDALL LN
          HOUSTON, TX 77066
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 61 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 72 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MAPULA, MANUEL                                                      Contingent
          11705 GLOGER
          HOUSTON, TX 77039
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MARTIN, JUDITH                                                      Contingent
          14811 WEST ROAD APT # 5214
          HOUSTON, TX 77095
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MARTIN, MONICA                                                      Contingent
          2211 SOUTH BRAESWOOD APT 21F
          HOUSTON, TX 77030
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MARTIN, RACQUEL                                                     Contingent
          2345 W FERNHURT DR #905
          KATY, TX 77494
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MARTINEZ JR, ROBERT A.                                              Contingent
          14507 CYPRESS LEAF DR
          CYPRESS, TX 77429
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MARTINEZ, DIANE                                                     Contingent
          8241 FUQUA GARDENS
          HOUSTON, TX 77075
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MARTINEZ, FRANCISCO                                                 Contingent
          8241 FUQUA GARDENS DR.
          HOUSTON, TX 77075
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 62 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 73 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MARTINEZ, MARIO                                                     Contingent
          4211 WOODMONT
          HOUSTON, TX 77045
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MASON, DEBRA S                                                      Contingent
          3403 BRIGHTON COVE CT
          FRESNO, TX 77545
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,938.56
          Matera Paper Company                                                Contingent
          PO Box 200184                                                       Unliquidated
          San Antonio, TX 78220                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MATHEW, BEENA                                                       Contingent
          3810 ORCHARD SPRINGS CT
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MATHEW, JEPSY                                                       Contingent
          2410 WAR ADMIRAL
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MATHEW, SNEHA                                                       Contingent
          707 SOUTH MARATHON WAY
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MATHEW, SOJOMOL                                                     Contingent
          707 S MARATHON WAY
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 63 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 74 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MATHIS, SUSAN                                                       Contingent
          8013 BROOKSIDE ROAD
          PEARLAND, TX 77581
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MAYSHACK, LINDA                                                     Contingent
          2250 S. GESSNER RD. APT 311
          HOUSTON, TX 77063-7701
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $43,107.62
          McAfee & Taft                                                       Contingent
          211 North Robinson                                                  Unliquidated
          Oklahoma City, OK 73102                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MCCLELLAND, WANDA                                                   Contingent
          2307 CREEK MEADOWS DRIVE
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MCCULLOUGH, LACHELE N                                               Contingent
          4130 ALMOND LAKE DRIVE
          HOUSTON, TX 77047
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MCFARLAND, TCHERYLINDRIA                                            Contingent
          2400 BUSINESS CENTER DR #236
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $25,640.06
          McKesson Technologies Inc                                           Contingent
          22423 Network Place                                                 Unliquidated
          Chicago, IL 60673-1224                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 64 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 75 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MCWILLIAMS, VERA D                                                  Contingent
          13107 FERRY HILL LN
          HOUSTON, TX 77015
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $40,779.06
          Med One 5328                                                        Contingent
          PO Box 271128                                                       Unliquidated
          Salt Lake City, UT 84127                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Financing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $105,460.94
          Med One 5329                                                        Contingent
          PO Box 271128                                                       Unliquidated
          Salt Lake City, UT 84127                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Financing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $200,811.50
          Medhost Direct, Inc.                                                Contingent
          2739 Momentum Place
          Chicago, IL 60689
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade Debt
                                                                             Is the claim subject to offset?    No     Yes
 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,006.51
          Medical Contracting Services, Inc.                                  Contingent
          10300 N Central Expy Suite 470                                      Unliquidated
          Dallas, TX 75231                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,200.00
          Medical Journal - Houston                                           Contingent
          PO Box 686                                                          Unliquidated
          Dickinson, TX 77539                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $25.42
          Medical Technology Associates                                       Contingent
          6840 Cross Bayou Drive                                              Unliquidated
          Largo, FL 33777                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 65 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 76 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $727.03
          Medisafe America LLC                                                Contingent
          9423 Corporate Lake Drive                                           Unliquidated
          Tampa, FL 33634                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,704.34
          Medivators Inc.                                                     Contingent
          NW 9841                                                             Unliquidated
          Minneapolis, MN 55485                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $18,610.37
          Medline Industries Inc.                                             Contingent
          Dept 1080                                                           Unliquidated
          Dallas, TX 75312                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MEDLOCK, NATALIE                                                    Contingent
          9239 CANADY PARK LN
          HOUSTON, TX 77075
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,860.00
          MEDMANAGEMENT, LLC                                                  Contingent
          1500 URBAN CENER DR                                                 Unliquidated
          BIRMINGHAM, AL 35242                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,207.04
          MEDOVATIONS, INC                                                    Contingent
          102 E. KEEFE AVE                                                    Unliquidated
          MILWAUKEE, WI 53212                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,120.00
          MedShape, Inc                                                       Contingent
          1575 Northside Drive NW                                             Unliquidated
          Atlanta, GA 30318                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 66 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 77 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $159,439.37
          Medtronic USA Inc                                                   Contingent
          PO Box 848066                                                       Unliquidated
          Dallas, TX 75284-8086                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MENDEZ, LUCIA                                                       Contingent
          3163 ROE DR
          HOUSTON, TX 77087
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MENDOZA, JUAN                                                       Contingent
          506 DELL COURT
          HOUSTON, TX 77009
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MERIDETH, PATRICK                                                   Contingent
          9221 PAGEWOOD LN #136
          HOUSTON, TX 77063
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,796.59
          Merit Medical Systems Inc                                           Contingent
          PO Box 204842                                                       Unliquidated
          Dallas, TX 75320                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MESCHEDE, JAMES                                                     Contingent
          742 WINDLASS WAY
          CROSBY, TX 77532
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,003.50
          Methodist Pathology Associates PLLC                                 Contingent
          6565 Fannin Street, B490                                            Unliquidated
          Houston, TX 77030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 67 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 78 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $87,369.90
          Metro Linen Service                                                 Contingent
          PO BOX 978                                                          Unliquidated
          MCKINNEY, TX 75070                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $470.89
          MGC Diagnostics/Medical Graphics Corp                               Contingent
          Bin #11                                                             Unliquidated
          Minneapolis, MN 55480                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,305.00
          Microbiology Specialists Inc.                                       Contingent
          8911 Interchange Drive                                              Unliquidated
          Houston, TX 77054                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MILAM, LATRICIA                                                     Contingent
          4113 ENGLEWOOD
          HOUSTON, TX 77026
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MILLS, JULIA                                                        Contingent
          1211 REAMS COURT
          FRESNO, TX 77545
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $240,956.63
          MINT MEDICAL PHYSICIAN STAFFING LP                                  Contingent
          2500 WILCREST, SUITE 100                                            Unliquidated
          HOUSTON, TX 77042                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $198.72
          MircroAire                                                          Contingent
          Lock Box 96565                                                      Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 68 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 79 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,720.33
          Mobile Instrument Service                                           Contingent
          333 Water Avenue                                                    Unliquidated
          Bellefontaine, OH 43311-1777                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MONSALVE, ANDERSON                                                  Contingent
          12410 WEST LITTLE YORK APT. 135
          HOUSTON, TX 77041
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MOODY, DEE                                                          Contingent
          709 B CLAREMONT PARKWAY
          MARBLE FALLS, TX 78654
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MOODY, MAUNIE                                                       Contingent
          9154 STABLEWOOD TERRACE
          WALLER, TX 77484-7748
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MOORE, LAURIE                                                       Contingent
          3018 SAM HOUSTON DR
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MORENO, MARYFRANCES                                                 Contingent
          7308 DENISON
          HOUSTON, TX 77020
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MOSELEY, NELLIE                                                     Contingent
          9450 WOODFAIR DR #1713
          HOUSTON, TX 77036
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 69 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 80 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MOYA, JORGE                                                         Contingent
          7822 BRAEBURN VALLEY DR
          HOUSTON, TX 77074
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,706.00
          Munsch Hardt Kopf & Harr, P.C.                                      Contingent
          Accounting                                                          Unliquidated
          Dallas, TX 75201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MWANCHA, RUTH                                                       Contingent
          11490 HARWIN DR APT 1207
          HOUSTON, TX 77072
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $233.75
          MyStaffingPro                                                       Contingent
          PO Box 642                                                          Unliquidated
          Toldeo, OH 43697                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NAIR, DEEPA                                                         Contingent
          11738 N EVELYN CIRCLE
          HOUSTON, TX 77071
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NARVAEZ, AMANDA                                                     Contingent
          2425 KATY FLEWELLEN RD
          KATY, TX 77494
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NATAPOVA, SOFIA                                                     Contingent
          5001 WOODWAY #1405
          HOUSTON, TX 77056
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 70 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 81 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,340.00
          National Technical Information Service                              Contingent
          5301 Shawnee Rd.                                                    Unliquidated
          Alexandria, VA 22312                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $741.52
          Natus Medical Incorporated                                          Contingent
          PO Box 3604                                                         Unliquidated
          Carol Stream, IL 60132-3604                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NAVARRO, ANGELICA                                                   Contingent
          415 GOBER ST
          HOUSTON, TX 77017
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NELSON, MEGAN                                                       Contingent
          15580 GEORGE
          BATON ROUGE, LA 70816
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,501.00
          Nephropathology Associates, PLC                                     Contingent
          PO Box 34113                                                        Unliquidated
          Little Rock, AR 72203-4113                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,088.56
          NetworkEquipment.net                                                Contingent
          1108 NW 16th                                                        Unliquidated
          Okahoma City, OK 73106                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $427.52
          Newbart Products Inc.                                               Contingent
          10424 Rockley Road                                                  Unliquidated
          Houston, TX 77099                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 71 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 82 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NEWTON, ANITA                                                       Contingent
          15700 LEXINGTON BLVD #1616
          SUGAR LAND, TX 77478
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,400.00
          NexGen Biologics                                                    Contingent
          32735 Seagate Drive, Unit 208                                       Unliquidated
          Rancho Palos Verdes, CA 90275                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NGO, KHAHAN                                                         Contingent
          1035 MOCKINGBIRD WAY
          SUGAR LAND, TX 77478
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NGUYEN, BICHNGOC                                                    Contingent
          6408 WOODHAVEN
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NGUYEN, EMILY                                                       Contingent
          7714 WINKLEMAN ROAD
          HOUSTON, TX 77083
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NGUYEN, JOSHUA                                                      Contingent
          872 BETTINA CT. #329
          HOUSTON, TX 77024
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NGUYEN, PHUNG                                                       Contingent
          1228 BOMAR ST.
          HOUSTON, TX 77006
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 72 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 83 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NGUYEN, QUYEN                                                       Contingent
          6408 WOODHAVEN
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NGUYEN, SON                                                         Contingent
          17519 GLEN MORRIS DR
          HOUSTON, TX 77084-7708
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NINAN, NITHIN                                                       Contingent
          17002 BLUE MIST CIR
          SUGAR LAND, TX 77498
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NIX, ELIZABETH                                                      Contingent
          1810 MORSE
          HOUSTON, TX 77019
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NNUBIA, AIDAN                                                       Contingent
          2727 SYNOTT RD APT 1205
          HOUSTON, TX 77082
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NOBLE, LAUREN                                                       Contingent
          PO BOX 218188
          HOUSTON, TX 77218
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,773.38
          Northwest Houston Surgical Association,                             Contingent
          21216 NW Freeway #250                                               Unliquidated
          Cypress, TX 77429                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 73 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 84 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NOWLAKHA, POOJA                                                     Contingent
          17518 LANTANA DR
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NWAIWU-OPARAH, SOPURUCHI                                            Contingent
          10001 LARKWOOD DR APT 2922
          HOUSTON, TX 77096
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NWANGUMA, JULIET                                                    Contingent
          1915 RUSTIC OAK LN
          RICHMOND, TX 77469
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NWOSU, NKEMAKOLEM                                                   Contingent
          4807 REBEL RIDGE
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OBASI, JOAN                                                         Contingent
          7400 BELLERIVE DR
          HOUSTON, TX 77036
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OBI, IFY                                                            Contingent
          8606 DOVES YARD
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OCTAVIANO, HUGO                                                     Contingent
          502 CLINTON ST
          CONROE, TX 77301
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 74 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 85 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ODOLLIL, DAISY                                                      Contingent
          3703 ALDRIDGE DR
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ODUSOLA, MONA                                                       Contingent
          4923 RANDALL OAK DR
          SUGAR LAND, TX 77478
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $192.54
          Office Depot, Inc.                                                  Contingent
          PO Box 630813                                                       Unliquidated
          Cincinnati, OH 45263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OFOR, EBERE                                                         Contingent
          6919 PUERTA VISTA LN
          HOUSTON, TX 77083
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OKOYE, FRANK                                                        Contingent
          4007 CLAYTON BEND CT
          HOUSTON, TX 77082
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OLIVER, JUSTIN                                                      Contingent
          9906 ROSEHAVEN
          HOUSTON, TX 77051
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OLSEM, CHARMAINE M.                                                 Contingent
          13808 LILAC VIEW COURT
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 75 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 86 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OLSEN, ROSSIE A.                                                    Contingent
          10010 WESTERN PINE TRAIL
          KATY, TX 77494
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OLUKOYA, FUNMI                                                      Contingent
          21802 SILVERPEAK CT
          KATY, TX 77450
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OMARI, SUAD                                                         Contingent
          2423 WINROCK BLVD APT 184
          HOUSTON, TX 77057
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,655.35
          OPA 1, LTD                                                          Contingent
          5420 West Loop S                                                    Unliquidated
          Bellaire, TX 77401                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $375.09
          Optum360                                                            Contingent
          PO Box 88050                                                        Unliquidated
          Chicago, IL 60680                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OROZCO, DANILO                                                      Contingent
          7811 TIERRA VERDE DR
          HOUSTON, TX 77083
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OROZCO-SERMENO, MAURICIO                                            Contingent
          6231 GASTON ST
          HOUSTON, TX 77016
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 76 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 87 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ORTEGA, MICHAEL A.                                                  Contingent
          3334 SOUTHDOWN DR
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $37,790.00
          OrthoMed                                                            Contingent
          4710 Katy Fwy                                                       Unliquidated
          Houston, TX 77007                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $25,000.00
          Osiris Therapeutics Inc                                             Contingent
          PO Box 37553                                                        Unliquidated
          Baltimore, MD 21297-3553                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OSSOM, IDORENYIN                                                    Contingent
          15200 PARKROW #914
          HOUSTON, TX 77084
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,143.60
          OsteoMed LLC                                                        Contingent
          2241 Collection Center Drive                                        Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,313.94
          Ostrom Morris PLLC                                                  Contingent
          6363 Woodway, Suite 300                                             Unliquidated
          Houston, TX 77057                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,858.49
          Owens & Minor                                                       Contingent
          PO Box 841420                                                       Unliquidated
          Dallas, TX 75284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 77 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 88 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OZAN, MIA                                                           Contingent
          450 NORMANDY APT #305
          HOUSTON, TX 77015
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $338.28
          P.C.S Copier Service Inc.                                           Contingent
          PO Box 42261                                                        Unliquidated
          Houston, TX 77242                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PAGE, SHONDIA                                                       Contingent
          9292 IMOGENE #416
          HOUSTON, TX 77036
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $25,897.50
          Paragon 28 Inc.                                                     Contingent
          4B Inverness Court East                                             Unliquidated
          Englewood, CO 80112                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,220.00
          Parcus Medical LLC                                                  Contingent
          6423 Parkland Drive                                                 Unliquidated
          Sarasota, FL 34243                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PARKER, TEMECA                                                      Contingent
          4002 CARAVEL CIRCLE
          MISSOURI CITY, TX 77459-7745
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,232.04
          PartsSource Inc.                                                    Contingent
          PO Box 645186                                                       Unliquidated
          Cincinnati, OH 45264-5186                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 78 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 89 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PATHAK, KAMAL                                                       Contingent
          9203 CHESTER PARK DR
          HOUSTON, TX 77064
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PATTERSON, STANLEY                                                  Contingent
          3821 PALM STREET
          HOUSTON, TX 77004-7700
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PAUL, PHIL                                                          Contingent
          4918 BROWER CREST
          PASADENA, TX 77504
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PAYTON, PHYLLIS                                                     Contingent
          11100 BRAESRIDGE #2323
          HOUSTON, TX 77071
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PAYTON-THOMAS, ROSE                                                 Contingent
          P O BOX 690641
          HOUSTON, TX 77269
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,600.00
          Peak Neuromonitoring Physicians I, PLLC                             Contingent
          PO Box 4585                                                         Unliquidated
          Houston, TX 77210-4585                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PELLERIN, TARSHA                                                    Contingent
          8014 LYNETTE STREET
          HOUSTON, TX 77028
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 79 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 90 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PENA, ANGELA                                                        Contingent
          646 GATESHIP DR
          HOUSTON, TX 77073
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PENA, CLAUDIA A.                                                    Contingent
          10039 REVELSTOKE DR
          HOUSTON, TX 77086
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PENN, JENNIFER                                                      Contingent
          2202 NAOMI BLVD #1
          HOUSTON, TX 77054
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PENN, TONI                                                          Contingent
          9850 S KIRKWOOD #1216
          HOUSTON, TX 77099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PERALTA, ELIZABETH                                                  Contingent
          14423 LAREDO ST
          HOUSTON, TX 77015
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PERKINS, BRANDY                                                     Contingent
          6041 WINSOME LANE #109
          HOUSTON, TX 77057
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PERKINS, MYISHA                                                     Contingent
          6836 FOSTER
          HOUSTON, TX 77021
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 80 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 91 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PERMENTER, TY                                                       Contingent
          2820 FOUNTAIN VIEW #209
          HOUSTON, TX 77057
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PERRIDON, EVELYN                                                    Contingent
          315 WILD BIRD DRIVE
          SPRING, TX 77373
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PETRY, LORA                                                         Contingent
          938 ZOE ST #2
          HOUSTON, TX 77020
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PHAM, JOHN                                                          Contingent
          8210 SCENIC SHORE CT
          SUGAR LAND, TX 77478
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,227.12
          Physicians' Record Company                                          Contingent
          3000 S. Ridgeland Ave.                                              Unliquidated
          Berwyn, IL 60402                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $89.97
          PitneyBowes                                                         Contingent
          PO Box 371874                                                       Unliquidated
          Pittsburgh, PA 15250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          POST, MARY                                                          Contingent
          2602 HOLLYBROOK DR
          SEABROOK, TX 77586
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 81 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 92 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          POTIER, FAYE                                                        Contingent
          251 BLACK ROCK RD
          HOUSTON, TX 77015
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          POWERS, AMBREA                                                      Contingent
          15222 PAXTON LANDING LANE
          CYPRESS, TX 77433
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          POWERS, MARY                                                        Contingent
          5902 LATTIMER DRIVE
          HOUSTON, TX 77035
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PRASLA, NESHA                                                       Contingent
          5502 CEDAREDGE CT
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,015.05
          Praxair Distribution, Inc                                           Contingent
          PO Box 120812                                                       Unliquidated
          Dallas, TX 75312                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,138.15
          Precision Dynamics Corporation                                      Contingent
          PO Box 71549                                                        Unliquidated
          Chicago, IL 60694                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PRICE, MAUREEN                                                      Contingent
          10939 VANDERFORD DRIVE
          HOUSTON, TX 77099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 82 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 93 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $16,376.98
          Priority Health Management, LLC                                     Contingent
          PO Box 2489                                                         Unliquidated
          Brentwood, TN 37024                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $141.40
          Professional Media Resources                                        Contingent
          Post Office Box 460380                                              Unliquidated
          St. Louis, MO 63146-7380                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $22,919.50
          ProHealth Staffing, LLC                                             Contingent
          100 West Harrison                                                   Unliquidated
          Seattle, WA 98119                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PROVOST, ALICE                                                      Contingent
          3947 CAMELIA GLEN LN
          FRESNO, TX 77545
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PRUNER, LAUREN                                                      Contingent
          145 HEIGHTS BLVD APT 122
          HOUSTON, TX 77007
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PURVIS, KATHLEEN                                                    Contingent
          702 NORTH OAK DRIVE
          HOUSTON, TX 77073-7707
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PUTHENPURACKAL, MOBIN BABU                                          Contingent
          550 STAFFORD RUN APT# 802
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 83 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 94 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,022.26
          Quik Print                                                          Contingent
          10637 N. May                                                        Unliquidated
          Oklahoma City, OK 73120                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,377.70
          RadLink                                                             Contingent
          Accounting Office                                                   Unliquidated
          7322 Southwest Frwy., Suite 780                                     Disputed
          Houston, TX 77074
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RAJU, FEBIN                                                         Contingent
          4931 HICKORY BRANCH LN
          SUGARLAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RAMIREZ-PARRA, MARIA                                                Contingent
          10910 GULF FWY
          HOUSTON, TX 77034
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RAMOS, DANIELA                                                      Contingent
          3031 WESTWOOD MANOR LN
          HOUSTON, TX 77047
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RAMOS, REYNA                                                        Contingent
          2714 HITCHCOCK
          HOUSTON, TX 77093
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RANDLE, VERLICIA                                                    Contingent
          1751 WEST WALKER STREET #12307
          LEAGUE CITY, TX 77062
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 84 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 95 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RASIC, MIRJANA                                                      Contingent
          2601 SOUTH BRAESWOOD #1405
          HOUSTON, TX 77025
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RAYFORD, ARLENA                                                     Contingent
          8023 12TH FAIRWAY
          HUMBLE, TX 77346
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $144,856.15
          ReedSmith LLP                                                       Contingent
          PO Box 75318                                                        Unliquidated
          Baltimore, MD 21275                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          REINE, WINONA                                                       Contingent
          1106 SUWANEE LN
          HOUSTON, TX 77090
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RENDEROS, ROSA                                                      Contingent
          9923 LEAWOOD BLVD
          HOUSTON, TX 77099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RENDON, CRISTIAN                                                    Contingent
          3820 SPRING VALLEY ROAD #1404
          ADDISON, TX 75001
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RESELOSA, SESENITA                                                  Contingent
          2302 APPIAN WAY
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 85 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 96 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          REYES, ADRIAN                                                       Contingent
          3610 KREBBS CT
          MANVEL, TX 77578
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          REYES, JOSE                                                         Contingent
          7611 LINDEN ST
          HOUSTON, TX 77012
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          REYNA, HELEN CHRISTINE                                              Contingent
          13640 FM 442
          NEEDVILLE, TX 77461
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RHODES, TROY                                                        Contingent
          19923 HICKORY WIND DR
          HUMBLE, TX 77346
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RICHARD, BRITTNEY                                                   Contingent
          10203 SRALLA RD
          CROSBY, TX 77532
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RICHARD, SANDIA                                                     Contingent
          14651 PHILIPPINE ST #5107
          HOUSTON, TX 77040
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RICHARDSON, GWENDOLYN                                               Contingent
          2910 REED ROAD #314
          HOUSTON, TX 77051
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 86 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 97 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RICHMOND, SHARON                                                    Contingent
          90 UVALDE APT2002
          HOUSTON, TX 77015
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,494.43
          Ricoh USA, Inc.                                                     Contingent
          PO Box 660342                                                       Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RINGER, NATASHA                                                     Contingent
          3611 SARDIS LN
          HOUSTON, TX 77088
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RIVERA, SAMANTHA                                                    Contingent
          10231 HANNON DR
          HOUSTON, TX 77040-7704
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ROBERTS, DOMONIQUE                                                  Contingent
          1000 FARRAH LANE #531
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RODRIGUEZ, ANGELICA                                                 Contingent
          15810 WISTERIA HILL ST.
          HOUSTON, TX 77073
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RODRIGUEZ, FERMIN B.                                                Contingent
          11529 CHIMNEY ROCK
          HOUSTON, TX 77035
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 87 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 98 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RODRIGUEZ, LISA                                                     Contingent
          4803 FOREST HURST GLEN
          SPRING, TX 77373
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RODRIGUEZ, RUBEN                                                    Contingent
          2974 CR 144
          ALVIN, TX 77511
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ROJALES, JOCELYN R.                                                 Contingent
          7806 IRIS GLEN LN
          RICHMOND, TX 77407
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ROJAS DE NOVOA, GUADALUPE                                           Contingent
          430 COUNTY RD 949J UNIT 6
          ALVIN, TX 77511
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ROSS, MARCUS                                                        Contingent
          522 KENWOOD LN
          HOUSTON, TX 77013
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ROSS, ROSIE                                                         Contingent
          14007 SUFFOLK WOODS LN
          HOUSTON, TX 77047
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ROSSER, WYLAN W                                                     Contingent
          502 HERRING ST
          ALVIN, TX 77511
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 88 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                                Page 99 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,584.00
          Royal Cup Inc                                                       Contingent
          PO Box 206011                                                       Unliquidated
          Dallas, TX 75320-6011                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,811.33
          RR Donnelley                                                        Contingent
          PO Box 932721                                                       Unliquidated
          Cleveland, OH 44193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RUEDA, GLORIA                                                       Contingent
          11215 HALL RANCH CT
          HOUSTON, TX 77075
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RUFFINO, JERRY                                                      Contingent
          6923 MUSCLEWOOD RD
          BAYTOWN, TX 77521
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RUIZ, MELISSA                                                       Contingent
          11103 GAVIN PLACE DR
          HOUSTON, TX 77088
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RUMPH, ERIC                                                         Contingent
          8877 LAKES AT 610 DR APT 374
          HOUSTON, TX 77054
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RUMPH, MICHELE                                                      Contingent
          852 JAQUET
          BELLAIRE, TX 77401
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 89 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 100 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          RUSSELL, CARY D.                                                    Contingent
          16214 PEACH BOUGH LANE
          HOUSTON, TX 77095
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,748.09
          RX REMOTE SOLUTIONS, INC                                            Contingent
          6409 QUAIL HOLLOW ROAD                                              Unliquidated
          MEMPHIS, TN 38120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          RX REMOTE SOLUTIONS, INC
          c/o Peter L. Scimeca                                                Contingent
          Andrews Davis, PC                                                   Unliquidated
          100 N. Broadway, Suite 3300                                         Disputed
          Oklahoma City, OK 73102
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred 4/19/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SALAZAR, PATRICIA                                                   Contingent
          2801 FM 2004 APT 1210
          TEXAS CITY, TX 77591
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SAMPSON, KAREN                                                      Contingent
          3611 LUCA ST
          HOUSTON, TX 77021
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SANCHEZ, ELVIA                                                      Contingent
          16106 SAN RIO DR
          HOUSTON, TX 77083
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SANDS, DENNIS                                                       Contingent
          9515 JOWETT
          SUGAR LAND, TX 77098
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 90 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 101 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SANTOS, NORDELINA B.                                                Contingent
          7811 TIERRA VERDE DRIVE
          HOUSTON, TX 77083
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SAQUIAN, EVELYN                                                     Contingent
          9214 MARLIVE LN
          HOUSTON, TX 77025
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SARRAJ, KHALED                                                      Contingent
          7510 BURGOYNE RD #1202
          HOUSTON, TX 77063
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SASSAMAN, GALE                                                      Contingent
          21375 W PINE LANE
          NEW CANEY, TX 77357
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SAVOY, JOHNA                                                        Contingent
          16371 ANGEL ISLAND LN
          HOUSTON, TX 77053
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SAWICKI, KATHRYN                                                    Contingent
          5908 WILDFIRE STREET
          LEAGUE CITY, TX 77573
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,481.82
          SCA Pharmaceuticals                                                 Contingent
          12120 Colonel Glenn Road                                            Unliquidated
          Little Rock, AR 72210                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 91 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 102 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $881.00
          SchureMed                                                           Contingent
          452 Randolph St                                                     Unliquidated
          Abington, MA 02351                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SCHWAB, KRISTIN                                                     Contingent
          1711 CALICO CANYON
          PEARLAND, TX 77581
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SECHLER, FADILA                                                     Contingent
          2111 LAUREL SPRINGS LN
          KINGWOOD, TX 77339
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $750.00
          SETRAC - SouthEast Texas Regional Adviso                            Contingent
          1111 North Loop West                                                Unliquidated
          Houston, TX 77008-5806                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,396.42
          Shaelock Enterprises, Inc.                                          Contingent
          PO Box 2345                                                         Unliquidated
          Spring, TX 77383                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,856.57
          Shannon Yarrow HealthCare Consulting, LL                            Contingent
          PO Box 7908                                                         Unliquidated
          Jackson, WY 83002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SHEPLER, DIANNE                                                     Contingent
          1054 AUTUMNWOOD DR
          MAGNOLIA, TX 77354
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 92 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 103 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SHEPPARD, RAKESHIA                                                  Contingent
          4315 AMBROSIA LANE
          BAYTOWN, TX 77521
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $85.00
          Sherre Lewis                                                        Contingent
          12126 Hilltop Dr                                                    Unliquidated
          Willis, TX 77318                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SHIELDS, CASSANDRA                                                  Contingent
          8118 PANAY
          HOUSTON, TX 77033
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.641    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,342.91
          Shred Pro Services LLC                                              Contingent
          PO Box 690166                                                       Unliquidated
          Houston, TX 77269                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.642    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SHYJU, LINDA                                                        Contingent
          11675 WEST BELLFORT ST #918
          HOUSTON, TX 77099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.643    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,420.00
          SI-Bone Inc                                                         Contingent
          3055 Olin Ave                                                       Unliquidated
          San Jose, CA 95128                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.644    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SIGWORTH, BEN                                                       Contingent
          1709 WYNGATE DR
          DEER PARK, TX 77536
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 93 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 104 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.645    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SIGWORTH, TERRY                                                     Contingent
          1709 WYNGATE DRIVE
          DEER PARK, TX 77536
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.646    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SIMPSON, JAYNEAN                                                    Contingent
          1818 EDENA DR
          HOUSTON, TX 77049
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.647    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SIMPSON, TRENT                                                      Contingent
          2828 COLLINGSWORTH APT #6
          HOUSTON, TX 77026
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.648    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SINGLETON, LATONDRA                                                 Contingent
          13006 GENTLEWATER DR
          HOUSTON, TX 77044
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.649    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,135.75
          Sizewise Rentals, LLC                                               Contingent
          PO Box 320                                                          Unliquidated
          Ellis, KS 67637                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.650    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,600.00
          Smith & Nephew, Inc                                                 Contingent
          75 Remittance Drive, Suite 6493                                     Unliquidated
          Chicao, IL 60675-6493                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.651    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $101,588.65
          SMITH & NEPHEW, INC.                                                Contingent
          PO Box 951605                                                       Unliquidated
          Dallas, TX 75395                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 94 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 105 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.652    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SMITH, AMANDA                                                       Contingent
          5045 CRENSHAW #529
          PASADENA, TX 77505
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.653    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SMITH, ARNOLD J                                                     Contingent
          4806 LEFFINGWELL ST.
          HOUSTON, TX 77026
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.654    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SMITH, SHATORI                                                      Contingent
          4806 LOFFINGWELL STREET
          HOUSTON, TX 77026
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.655    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,454.00
          Solis Medical Lab                                                   Contingent
          7501 Fannin Street, Suite 800                                       Unliquidated
          Houston, TX 77054                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.656    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SOLIS, PAULA                                                        Contingent
          80 LYERLY #48
          HOUSTON, TX 77022
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.657    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SOLLOWIN, GABRIELA                                                  Contingent
          1724 PASADENA STREET
          HOUSTON, TX 77023
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.658    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SOOKNANAN, APRIL                                                    Contingent
          2709 CALICO CREEK LANE
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 95 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 106 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.659    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,495.00
          South Texas Nuclear Pharm                                           Contingent
          8399 Almeda Road Suite K                                            Unliquidated
          Houston, TX 77054                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.660    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,212.50
          Southeastern Employee Benefit Services                              Contingent
          Lockbox #24996                                                      Unliquidated
          Chicago, IL 60673-1249                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.661    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $231.74
          Sparkletts & Sierra Springs                                         Contingent
          PO Box 660579                                                       Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.662    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,626.01
          Spectranetics Corp                                                  Contingent
          4588 Solutions Center                                               Unliquidated
          Chicago, IL 60677-4005                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.663    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,275.00
          Spinal Elements                                                     Contingent
          3115 Melrose Drive, Suite 200                                       Unliquidated
          Calsbad, CA 92010                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.664    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,256.50
          SpineSmith Holdings, LLC                                            Contingent
          93 Red River Street                                                 Unliquidated
          Austin, TX 78701                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.665    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SRIPADA, SUPRIYA                                                    Contingent
          225 FLUOR DANIEL DRIVE APT 13202
          SUGARLAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 96 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 107 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.666    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,912.04
          Stambush Staffing, LLC                                              Contingent
          PO Box 2167                                                         Unliquidated
          Stafford, TX 77477-2167                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.667    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,388.96
          Staples Advantage                                                   Contingent
          Dept DAL                                                            Unliquidated
          Chicago, IL 60696                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.668    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,750.00
          STAR MEDICAL THERAPY                                                Contingent
          15255 GULF FREEWAY                                                  Unliquidated
          HOUSTON, TX 77034                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.669    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          STEPHENS, SANTITA                                                   Contingent
          P O BOX 680085
          HOUSTON, TX 77268
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.670    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          STERLING, TAKEEYAH                                                  Contingent
          16707 VISTA OAK DR
          HOUSTON, TX 77073
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.671    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          STEWART, JEFFREY                                                    Contingent
          14019 TEALSTONE FALLS CT
          HOUSTON, TX 77044
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.672    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          STEWART, SYLVIA                                                     Contingent
          6520 BROADWAY ST #1112
          PEARLAND, TX 77581
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 97 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 108 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.673    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,072.18
          Stryker Endoscopy                                                   Contingent
          C/O Stryker Sales Corp                                              Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.674    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,244.64
          Stryker Instruments                                                 Contingent
          P O Box 70119                                                       Unliquidated
          Chicago, IL 60673-0119                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.675    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,841.77
          Stryker Orthopedics                                                 Contingent
          Attn: JP Morgan - 93213                                             Unliquidated
          1360 N. Wood Dale Rd., #B                                           Disputed
          Wood Dale, IL 60191
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.676    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $727.43
          Stryker Sales Corporation                                           Contingent
          1950 Hanahan Road                                                   Unliquidated
          Charleston, SC 29406                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.677    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          STUCKEY, JUDITH                                                     Contingent
          4143 ALECIA DR
          PASADENA, TX 77503-7750
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.678    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SULLIVAN, SARAH                                                     Contingent
          24043 SCHULTS MEADOW LN
          SPRING, TX 77389
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.679    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,271.26
          Summer Energy, LLC                                                  Contingent
          PO Box 660938                                                       Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 98 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 109 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.680    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SUNNY, SOLLY                                                        Contingent
          13023 WINDMILL HILL CIRCLE
          RICHMOND, TX 77407
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.681    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SURBER, TONI                                                        Contingent
          15445 OCONNOR DR
          SPLENDORA, TX 77372
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.682    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $846.00
          Surgical Product Solutions, LLC                                     Contingent
          643 First Avenue                                                    Unliquidated
          Pittsburgh, PA 15219                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.683    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SWANBERG, JESSICA                                                   Contingent
          1704 UTAH ST
          HOUSTON, TX 77007
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.684    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SWANSON, CHARLES                                                    Contingent
          2603 OLD FORT RD
          SUGARLAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.685    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $878.18
          Symmetry Surgical                                                   Contingent
          3034 Owen Dr                                                        Unliquidated
          Antioch, TN 37013                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.686    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $702.15
          Symphony Performance Health                                         Contingent
          500 E Main St, Suite 340                                            Unliquidated
          Branford, CT 06405                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 99 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 110 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.687    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,085.63
          Synthes                                                             Contingent
          PO Box 8538-662                                                     Unliquidated
          Philadelphia, PA 19171-0662                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.688    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $68,234.26
          Sysco Houston                                                       Contingent
          10710 Greens Crossing Blvd                                          Unliquidated
          Houston, TX 77038                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.689    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,450.00
          T. JAYAKUMAR M.D. P.A.                                              Contingent
          7501 Fannin St.                                                     Unliquidated
          Houston, TX 77054                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.690    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TALLEDO, CARLOS                                                     Contingent
          807 BOMAR ST
          HOUSTON, TX 77006
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.691    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TANG, LINH T.                                                       Contingent
          12516 IVY RUN LANE
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.692    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TAYLOR, DANYELLE                                                    Contingent
          2100 S GESSNER RD APT. 1305
          HOUSTON, TX 77063
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.693    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $58,245.13
          TDIndustries                                                        Contingent
          PO Box 300008                                                       Unliquidated
          Dallas, TX 75303                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 100 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 111 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.694    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,143.35
          Teleflex Medical, Inc                                               Contingent
          PO Box 601608                                                       Unliquidated
          Charlotte, NC 28260-1608                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.695    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $407.35
          Tennant Sales and Service Co                                        Contingent
          PO Box 71414                                                        Unliquidated
          Chicago, IL 60694-1414                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.696    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,268.98
          Terumo Medical Corporation                                          Contingent
          PO Box 841733                                                       Unliquidated
          Dallas, TX 75284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.697    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,450.25
          The Methodist Hospital                                              Contingent
          PO Box 4315                                                         Unliquidated
          Houston, TX 77210                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.698    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,083.44
          The Standard Register Co.                                           Contingent
          PO Box 840655                                                       Unliquidated
          Dallas, TX 75284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.699    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          THOMAS, ANNI V                                                      Contingent
          2017 ROARING SPRINGS
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.700    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          THOMAS, BIBBY                                                       Contingent
          7815 BLAZING GAP
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 101 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 112 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.701    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          THOMAS, BINU                                                        Contingent
          3306 HIGH PINE CT
          MISSOURI CITY, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.702    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          THOMAS, JAMYSHA                                                     Contingent
          3306 HIGH PINE CT.
          MISSOURI CITY, TX 77495
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.703    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          THOMAS, LALU                                                        Contingent
          7206 BAITLAND DR
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.704    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          THOMAS, PATRICIA                                                    Contingent
          3203 LIGHTSTAR DR.
          HOUSTON, TX 77045
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.705    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          THOMAS, PAULSON                                                     Contingent
          2017 ROARING SPRINGS
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.706    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TILLIS, JACQUELINE                                                  Contingent
          122 GEORGIA ST
          HOUSTON, TX 77029
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.707    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,875.00
          Tissue Regenix Wound Care, Inc                                      Contingent
          PO Box 841379                                                       Unliquidated
          Dallas, TX 75284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 102 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 113 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.708    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TO, NGOC                                                            Contingent
          10311 SUGAR BRIDGE TRAIL
          SUGAR LAND, TX 77498
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.709    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TORN, MICHAEL                                                       Contingent
          3719 NEWHOUSE STREET
          HOUSTON, TX 77019
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.710    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TORRES, ALEJANDRA                                                   Contingent
          10327 APPLE TREE CIRCLE SOUTH
          LA PORTE, TX 77571
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.711    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TRAMELL, TAMARA                                                     Contingent
          1938 GARDEN RD #81
          PEARLAND, TX 77581
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.712    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TRAN, PHUONG                                                        Contingent
          2305 W ALABAMA #2101
          HOUSTON, TX 77098
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.713    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TRAN, VU P.                                                         Contingent
          2305 W ALABAMA APT 2101
          HOUSTON, TX 77098
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.714    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,150.00
          TranS1 - Quandary Medical, LLC                                      Contingent
          2629 W 32nd Ave                                                     Unliquidated
          Denver, CO 80211-5934                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 103 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 114 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.715    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,232.00
          Trilliant Surgical LTD                                              Contingent
          6721 Portwest Drive                                                 Unliquidated
          Houston, TX 77024                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.716    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,750.00
          Trinity Physics Consulting, LLC                                     Contingent
          PO Box 670675                                                       Unliquidated
          Dallas, TX 75267                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.717    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,587.09
          Triple D Uniform Rental Inc                                         Contingent
          4031 Southerland Road                                               Unliquidated
          Houston, TX 77092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.718    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TRISTAN, KIMBERLY                                                   Contingent
          2113 MOSS CREEK LANE
          PEARLAND, TX 77581
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.719    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $817.54
          Truth Chemical                                                      Contingent
          PO Box 3307                                                         Unliquidated
          Lafayette, LA 70502                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.720    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TURAY, ZAINAB                                                       Contingent
          7120 CARRIAGE HILL DR.
          LAUREL, MD 20707
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.721    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TURCIOS, LORENA                                                     Contingent
          10300 WILCREST DRIVE, APT. # 103
          HOUSTON, TX 77099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 104 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 115 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.722    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          TUTOR, JACQUELINE                                                   Contingent
          20606 KEEGANS LEDGE LANE
          CYPRESS, TX 77433
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.723    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $600.00
          TZ Medical Inc                                                      Contingent
          17750 SW Upper Boones Ferry Rd                                      Unliquidated
          Portland, OR 97224                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.724    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,129.68
          Ultimate Medical Services, Inc.                                     Contingent
          6004 Hwy 90 East                                                    Unliquidated
          Lake Charles, LA 70615                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.725    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $805.49
          United Ad Label                                                     Contingent
          RR Donnelley                                                        Unliquidated
          300 Lang Blvd.                                                      Disputed
          Grand Island, NY 14072
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.726    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,165.00
          UOC USA Inc.                                                        Contingent
          20 Fairbanks                                                        Unliquidated
          Irvine, CA 92618                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.727    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $679.38
          UPS                                                                 Contingent
          PO Box 7247-0244                                                    Unliquidated
          Philadelphia, PA 19170                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.728    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,880.69
          US Foods                                                            Contingent
          Box 840396                                                          Unliquidated
          Dallas, TX 75284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 105 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 116 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.729    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $22.00
          US HealthWorks                                                      Contingent
          PO Box 404974                                                       Unliquidated
          Atlanta, GA 30384                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.730    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,171.88
          US Med-Equip, Inc.                                                  Contingent
          PO Box 41321                                                        Unliquidated
          Houston, TX 77241                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.731    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VALDEZ, STEPHANIE                                                   Contingent
          4435 CICADA LANE
          HOUSTON, TX 77039
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.732    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VALENZUELA, ALLISON                                                 Contingent
          7118 WINKLEMAN RD
          HOUSTON, TX 77083
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.733    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,185.50
          Varco Staffing Inc                                                  Contingent
          c/o Euler Hermes Collections North Ameri                            Unliquidated
          800 Red Brook Blvd., Suite 400 C                                    Disputed
          Owings Mills, MD 21117
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number       5191                         Is the claim subject to offset?    No  Yes
 3.734    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VARUGHESE, SHYBU                                                    Contingent
          17607 BROWNING TRACE LANE
          RICHMOND, TX 77407
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.735    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $357.23
          Vasamed, Inc                                                        Contingent
          7615 Golden Traingle Dr                                             Unliquidated
          Eden Prairie, MN 55344                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 106 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 117 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.736    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VASQUEZ, CHRISTIAN                                                  Contingent
          12014 PLUMBROOK DR
          HOUSTON, TX 77099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.737    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VASQUEZ, JUAN                                                       Contingent
          12014 PLUMBROOK DR
          HOUSTON, TX 77099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.738    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VELASQUES, TRACY                                                    Contingent
          15200 MEMORIAL DR #3209
          HOUSTON, TX 77079
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.739    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VICE, HARMONEE                                                      Contingent
          27311 KINGSPORT DRIVE
          SPLENDORA, TX 77372
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.740    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VIDOVIC, GREGORY                                                    Contingent
          145 HEIGHTS BLVD 209
          HOUSTON, TX 77007
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.741    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,252.00
          Viking Delivery Service                                             Contingent
          Attn: Accts Payable                                                 Unliquidated
          11419 Brittmoore Park Dr.                                           Disputed
          Houston, TX 77041
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.742    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,051.67
          Vilex                                                               Contingent
          111 Moffitt Street                                                  Unliquidated
          McMinnville, TN 37110                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 107 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 118 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.743    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VILLA, ANNABEL                                                      Contingent
          254 TALLANT
          HOUSTON, TX 77076
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.744    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VILLALBA, FRANKY                                                    Contingent
          2322 BRANARD ST APT # 2105
          HOUSTON, TX 77098
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.745    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VILLANUEVA, VERONICA                                                Contingent
          5426 LAUREL CREEK WAY
          HOUSTON, TX 77017
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.746    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,603.06
          Vision Service Plan of Oklahoma                                     Contingent
          PO Box 45295                                                        Unliquidated
          San Francisco, CA 94146                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.747    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,414.86
          Volcano Corporation                                                 Contingent
          24250 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.748    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          VU, TERESA                                                          Contingent
          2003 GOODWIN DR
          KATY, TX 77493
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.749    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WASHINGTON, FINIS                                                   Contingent
          19401 TOMBALL PKWY 525
          HOUSTON, TX 77070
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 108 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 119 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.750    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WATERS, CYNTHIA                                                     Contingent
          711 DEER HOLLOW DR
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.751    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WATLINGTON, SHARI                                                   Contingent
          2512 NICHOLAS DR
          PEARLAND, TX 77581
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.752    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WATT, WENDY                                                         Contingent
          7313 NORTHLINE DR #212
          HOUSTON, TX 77076
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.753    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WEBB, GERALD                                                        Contingent
          5102 FM 2403
          ALVIN, TX 77511-7751
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.754    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WEBBER, KANDI                                                       Contingent
          1800 EL PASEO DRIVE #2006
          HOUSTON, TX 77054
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.755    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WEBER, ROSIE                                                        Contingent
          6207 QUEENSLOCH DR
          HOUSTON, TX 77096
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.756    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WEEKS, MARK                                                         Contingent
          8671 HWY 62 N
          ORANGE, TX 77632
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 109 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 120 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.757    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WERLINGER, MIKA                                                     Contingent
          8031 HIDDEN TERRACE DR
          SUGAR LAND, TX 77479
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.758    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WEST, JORDAN                                                        Contingent
          306 LEISURE DR
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.759    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WEST, MARZETTA J                                                    Contingent
          306 LEISURE DR
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.760    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WHEELER, RHONDA                                                     Contingent
          735 DULLES AVE #209
          STAFFORD, TX 77477
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.761    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WHELAN, BOBBI                                                       Contingent
          130 RIVERSHYRE CIR
          LAWRENCEVILLE, GA 30043-3437
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.762    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          White Coat Interactive, Inc.
          c/o Robert S. Clark, Sr.                                            Contingent
          Clark & Jordan, L.P.                                                Unliquidated
          9225 Katy Freeway, Suite 314                                        Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred 02/09/2015
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.763    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WHITEHOUSE, SARAH                                                   Contingent
          2900 W DALLAS #426
          HOUSTON, TX 77019
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 110 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 121 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.764    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          William Leska
          c/o Steven R. Davis                                                 Contingent
          Davis & Davis, Attorneys at Law                                     Unliquidated
          440 Louisiana, Sutie 1850                                           Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred 09/19/2016
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.765    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WILLIAMS, ANGELA                                                    Contingent
          10619 DONEGAL WAY
          HOUSTON, TX 77047
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.766    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WILLIAMS, ANITA                                                     Contingent
          606 BROOKFORD DR
          MISSOURI CITY, TX 77489
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.767    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WILLIAMS, ARTHUR                                                    Contingent
          8383 EL MUNDO #713
          HOUSTON, TX 77054-7705
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.768    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WILLIAMS, KEITH                                                     Contingent
          7776 CECIL LOOP LN
          HOUSTON, TX 77075-7707
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.769    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WILLIAMS, LYNQUINTA                                                 Contingent
          1204 OLIVE ST.
          BAYTOWN, TX 77520
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.770    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WILLIS, SHARRON                                                     Contingent
          1906 CADBURY CASTLE LN
          FRESNO, TX 77545
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 111 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 122 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.771    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WILLMORE, ERIC                                                      Contingent
          18817 KRISTI LANE
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.772    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WILSON, DETRICK                                                     Contingent
          4034 LONGWAY ESTATE CT
          FRESNO, TX 77545
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.773    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WILSON, GREER                                                       Contingent
          2226 PLUM SQUARE CT
          FRESNO, TX 77545
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.774    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WILSON, YOLANDA D.                                                  Contingent
          5405 SILVER CANYON COURT
          ROSHARON, TX 77583
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.775    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Winona Jacqueline Reine
          c/o Theressa F. Ford                                                Contingent
          The Ford 4 Justice Law Firm                                         Unliquidated
          2626 South Loop West, Suite 650C                                    Disputed
          Houston, TX 77054
                                                                             Basis for the claim:    Litigation
          Date(s) debt was incurred 01/23/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.776    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WINTERS, JAMES                                                      Contingent
          3003 WINDCHASE BLVD. #309
          HOUSTON, TX 77082-3433
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.777    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WOODS, LINDA                                                        Contingent
          1811 AVE F
          DANBURY, TX 77534-7753
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 112 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 123 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.778    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          WORRELL, GLORIA L.                                                  Contingent
          11034 W BELLFORT
          HOUSTON, TX 77099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.779    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $154,941.46
          Wound Care Advantage, LLC                                           Contingent
          304 W. Sierra Madre Blvd.                                           Unliquidated
          Sierra Madre, CA 91024                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.780    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,767.70
          Wright Medical Technology, Inc                                      Contingent
          PO Box 503482                                                       Unliquidated
          St. Louis, MO 63150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.781    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $147,033.00
          X-Spine Systems, Inc.                                               Contingent
          452 Alexandersville Road                                            Unliquidated
          Miamisburg, OH 45342                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.782    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          YAO, MARQUITA                                                       Contingent
          2203 CORAL COVE DR
          PEARLAND, TX 77584
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.783    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          YARBROUGH, ANGELIA                                                  Contingent
          14911 PARKVILLE
          HOUSTON, TX 77068
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.784    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          YATES, NYEISHA                                                      Contingent
          3023 BRACKENRIDGE ST
          HOUSTON, TX 77026
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 113 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 124 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.785    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          YOUNG, RACHELLE                                                     Contingent
          8900 CHIMNEY ROCK #44
          HOUSTON, TX 77096
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.786    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,495.50
          YourCareUniverse, Inc                                               Contingent
          2739 Momentum Place                                                 Unliquidated
          Chicago, IL 60689-5327                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.787    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ZACHARIA, MEYAMMA                                                   Contingent
          7535 HAWRIDGE
          MISSOURI CITY, TX 77459
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.788    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ZAMARRON, MICHAEL                                                   Contingent
          7615 HERITAGE PINES DR
          HUMBLE, TX 77346
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.789    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $22.35
          Zerlene Davis                                                       Contingent
          3230 W Litle York Rd                                                Unliquidated
          Houston, TX 77091                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.790    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          ZERMENO, OLGA                                                       Contingent
          3905 REGENCY DR
          DEER PARK, TX 77536
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.791    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,224.23
          Zimmer                                                              Contingent
          PO Box 840166                                                       Unliquidated
          Dallas, TX 75284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 114 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
         Case 17-42571-rfn11 Doc 94 Filed 08/04/17                                       Entered 08/04/17 15:33:57                             Page 125 of 125
 Debtor       University General Hospital, LLC                                                        Case number (if known)            17-42570-rfn11
              Name

 3.792     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                Unknown
           ZIWORITIN, IYINGIERE                                               Contingent
           5730 CASPIAN FALLS LANE
           FULSHEAR, TX 77441
                                                                              Unliquidated
           Date(s) debt was incurred
                                                                              Disputed
           Last 4 digits of account number                                   Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        1,794.00
 5b. Total claims from Part 2                                                                            5b.    +   $                   33,418,209.83

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      33,420,003.83




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 115 of 115
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
